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 Metropolitan Police Department
   Standard Operating Procedures for
Handling First Amendment Assemblies and
          Mass Demonstrations




                Revised: January 20, 2011
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I.      INTRODUCTION

        The Standard Operating Procedures (SOP) outlined in this manual are to ensure
        that this department is prepared to respond effectively and efficiently in
        accordance with applicable law and District of Columbia policy to any unlawful
        conduct occurring in the context of First Amendment assemblies. These SOP’s
        incorporate revisions to the manner in which the Metropolitan Police Department
        responds to demonstrations and other assemblies on District of Columbia public
        space that the District has implemented in resolving litigation. This manual also
        reflects measures mandated by the First Amendment Rights and Police Standards
        Act of 2004.

        This handbook sets forth general policy and shall serve as standard operating
        procedures for all members in carrying out the mission of the Metropolitan Police
        Department in dealing with all demonstrations, rallies, marches, picket lines, or
        other similar gatherings conducted for the purpose of persons expressing their
        political, social, or religious views. This policy is intended to exceed
        constitutional requirements and satisfy the heightened requirements of local
        statutory law and best practices.

        The manual also is designed around the concept of operational flexibility within
        the requirements of the National Incident Management System. It is impossible
        to devise specific standard procedures for handling all possible situations, for
        each has its own characteristics and problems. The overall police philosophy must
        be one of moderation, flexibility and controlled response. Since each situation is
        unique, both commanders and supervisory officials must plan to respond
        according to the nature and size of the crowd. The tactical procedures established
        within this manual are a guide, and not a substitute for the exercise of sound
        judgment and proper command and supervision within the context of general
        departmental policy.

        It is imperative that members of the force understand the role of the Metropolitan
        Police Department during mass demonstrations and major disturbances in our city
        and the manner by which the department prepares itself to fulfill this role. It is to
        this end that this handbook is dedicated.

II.     POLICY

        A.     Statement of Policy

               It is the declared policy of the District of Columbia that persons and
               groups have a right to organize and participate in peaceful First
               Amendment assemblies on the streets, sidewalks, and other public ways,
               and in the parks of the District of Columbia, and to engage in First
               Amendment assembly near the object of their protest so they may be seen
               and heard, subject to reasonable restrictions designed to protect public

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        safety, persons, and property, and to accommodate the interest of persons
        not participating in the assemblies to use the streets, sidewalks, and other
        public ways to travel to their intended destinations, and use the parks for
        recreational purposes.

        It is the statutory responsibility of the Metropolitan Police Department to
        preserve the public peace, to prevent crime, arrest offenders, and to protect
        the rights of persons and of property. As part of this responsibility, the
        department provides trained personnel to respond to the scene of First
        Amendment assemblies in our city in order to preserve peace while
        protecting the constitutional and statutory rights of people to assemble
        peacefully and exercise free speech. In fulfilling these responsibilities, the
        department will make reasonable efforts to employ non-arrest methods of
        crowd management as the primary means of restoring order. Should such
        methods prove unsuccessful, arrests shall be made for violations of the
        law. All arrests shall be based on probable cause, and arresting officers
        shall use only the minimum necessary force to make and maintain the
        arrest. To the extent possible under the circumstances, arrests shall be
        made in an organized manner by units at the direction of the Chief of
        Police or his/her designee. All arrests shall be fully documented.
        Prisoners shall be safeguarded and adequately cared for, and shall be
        expeditiously processed for court or release.

        The Council for the District of Columbia has enacted the First
        Amendment Rights and Police Standards Act of 2004. This act
        contains First Amendment Assemblies provisions that control this
        department’s responses to demonstrations. The Metropolitan Police
        Department shall comply with all provisions of this act while providing
        police services during any First Amendment event. The First Amendment
        Assemblies provisions are contained within Appendix M.

        It is the policy of MPD to index, retain and store all documents (originals
        and copies) for a period of no less than three (3) years. The provisions for
        the records retention are contained within Appendix N.

  B.    Organizational Policy

        The Chief of Police, or an official or officer designated by him/her
        Directly, through operation of the chain of command, by virtue of
        deployment of personnel pursuant to an operational plan or in response a
        First Amendment assembly, or lawful order, will be the Incident
        Commander at scenes of First Amendment assemblies.

        Incident Command responsibility, once established, does not pass from
        one officer or official to another simply by virtue of the appearance or
        arrival at the scene of a First Amendment assembly of an official senior in

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                rank to the officer or official operating as the Incident Commander.
                Incident Command responsibility passes in such instances only upon
                acceptance of that responsibility by the senior official.

III.     PLANNED/PERMITTED FIRST AMENDMENT ASSEMBLIES

         Planned events are those that the department is aware of in advance, either
         through the submission of a permit request or other means that allow for the
         advance planning of resources and response procedures. When large-scale
         planned/permitted First Amendment assemblies are anticipated:

                1.     The Chief of Police will designate command official(s) to serve as
                       Area or Incident Commander(s) at various sites to manage events.

                2.     During First Amendment protected demonstrations, Incident
                       Command responsibility, once established, does not pass from one
                       officer to another simply by virtue of the arrival of a member of
                       higher rank. Incident Command responsibility passes only in such
                       instances when the higher-ranking official assumes command and
                       informs the lower ranking official.

                3.     The Commander, Special Operations Division, under the direction
                       of the Chief of Police, is responsible for preparing the necessary
                       details and tactical plans for events that are scheduled to occur
                       within the District of Columbia. In this capacity he/she shall:

                       a.      Coordinate all aspects of the event plan with the affected
                               elements, units and personnel;

                       b.      Coordinate activities with other law enforcement, D.C.
                               Government and federal agencies, as necessary; and

                       c.      Designate liaison officers to deal with demonstration
                               leaders before, during, and after the demonstration.

                4.     Planning Committees

                       In order to perform its mission of protecting the rights of
                       demonstrators, counter-demonstrators, and non-demonstrators
                       alike, it is the policy of the MPD to engage in advance planning to
                       facilitate demonstrations where the Department is provided
                       advance notification through the permit application process or
                       learns of a planned First Amendment assembly.
                       Creation of various subcommittees: The subcommittees that are
                       convened will be dependent upon the type of event being handled.
                        The Responsibilities of each committee shall be at the discretion

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                           of the Commander, Special Operations Division.1 The following
                           committees shall be considered when planning for an event:

                                    •   Venue Security

                                    •   Sanitation

                                    •   Crisis Management

                                    •   Consequence Management

                                    •   Transportation

                                    •   Traffic

                                    •   Legal

                                    •   Media Relations

IV.      UNPLANNED EVENTS

         Unplanned events are ones of which the Department has no prior
         knowledge. Such events may consist of spontaneous gatherings and/or large-
         scale demonstrations. Unplanned events are often peaceful and pose little
         problem for law enforcement; however, peaceful gatherings can turn violent, so
         contingency plans must be in place for members to respond as necessary to
         safeguard life and property.

         Response to Un-permitted First Amendment Assemblies


         The first officer(s) to arrive on the scene of a First Amendment Assembly is
         responsible for the following actions:

                  1.       Observe the situation to determine if the gathering is peaceful or
                           has the potential to turn violent.

                  2.       Notify the CIC and the Office of Unified Communications (OUC)
                           of the nature and size of the assembly and request the assistance of
                           a supervisor.



         1
          The Commander of the Special Operations Division will serve as a liaison officer to city, federal
and other        law enforcement agencies in the manner set forth in GO-RAR-310.04 Mutual Aid
Agreements.

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         3.      Attempt to identify and make contact with the group organizers or
                 leaders to determine the duration of the event, the number of
                 persons expected to attend and if civil disobedience is anticipated
                 or planned.

         4.      If criminal activity has occurred, attempt to identify those
                 individuals who were involved.

  In large gatherings the SOD Commander or on-duty SOD Official shall be
  requested to respond to the scene. If an SOD Official is unavailable, the District
  Watch Commander shall respond to the scene and assume command of the
  demonstration as the Incident Commander (IC). However, Incident Commander
  Responsibilities outlined below apply regardless of rank and should be
  implemented as soon as possible.

  Incident Commander Responsibilities

  The primary responsibility of the IC is the rapid assembly of sufficient staffing to
  provide a safe environment for the gathering and ensure that disruptions to the area
  are minimized. As such the IC should immediately:

         1.      Assess the situation for seriousness and its potential for
                 escalation. If the assembly is peaceful and adequate resources are
                 available, efforts should be made to allow for the protest action to
                 continue, by redirecting vehicular and pedestrian traffic around the
                 incident.

         2.      Ensure that the following information about the incident is
                 continuously provided to the dispatcher and the CIC:

                    Location of disturbance.

                    Number of participants.

                    Activities of the participants (e.g., blocking
                     traffic, destruction of property, etc.)

                    Direction of movement of the participants.

                    Ingress/egress route(s) for emergency
                     vehicles.

         3.      If a peaceful assembly escalates to a civil disturbance
                 beyond the capacity of personnel then present to effectively handle
                 the situation, the official in charge shall:



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                            Make an evaluation as to the additional manpower
                             required to manage the situation.

                            Notify the Communications Division as to the situation.

                            Determine if a partial or full activation of CDU
                             personnel will be necessary.2

                            Determine if a recall of off-duty personnel may be
                             necessary.3

                            Determine the level of personal protection equipment to
                             be utilized and the tactics employed in response.

                4.       Members of the Metropolitan Police Department are
                         reminded that the charge of “Parading without a Permit” is not an
                         offense and shall not be used to detain anyone.

        Violent and Non-Violent Civil Disobedience

        Civil disobedience may involve groups of individuals who engage in unlawful
        conduct. This conduct may be non-violent, such as blocking traffic or the entry to
        a building or it may be violent involving property damage or assaults on officers.
        In either case, the IC has several options for dealing with the group(s) involved:

        •    Issuance of formal orders to disperse using public address equipment
             to assure notification to all leaders and crowd members, and to maximize the
             legal effects of such notifications.4

        •    Use of tactical maneuvers and other crowd management formations to
             promote dispersal of those acting in violation of the law through the
             application of force.

        •    When necessary, arrests based on probable cause of those participating
             in violations of law.

        •    Use of less-than-lethal weapons.




2
  Activating Civil Disturbance Units shall be done in accordance with G.O. 805-1 Civil Disturbance
Units.
3
  Recall of personnel to respond to a disturbance shall be handled in accordance with G.O. OPS-
803.04         Emergency Response Plan.
4
  When possible, dispersal orders shall be given using the “warning format” in Appendix D.

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V.      VIOLENT CIVIL DISTURBANCES
        Unplanned civil disturbances may arise from a number of causes such as political
        grievances, economic conflicts, community unrest, or in response to police action
        taking place in neighborhoods, or in the midst of a crowded street, park or public
        place. Civil disturbance participants come from all walks of life and cover the
        entire political spectrum.
        Whenever an unplanned First Amendment assembly arises, the first officer on the
        scene will serve as the initial incident commander. That member will be
        responsible for conducting an assessment of the scene, notifying the CIC and the
        element Watch Commander of the situation and requesting assistance from the
        Special Operations Division.

        The basic human element sparking a civil disturbance is usually the presence of a
        crowd. Civil disturbances usually arise when a crowd:
               1.      Gathers to air grievances on issues, and transfers its anger from the
                       issues to the people dealing with the issues.

               2.      Swells uncontrollably as curious bystanders and sympathetic
                       onlookers join forces with the activists or protestors.

               3.      Is incited to irrational action by skillful agitators.
        In civil disturbances, crowds employ any number of tactics to achieve their goals.
        Their tactics may be unplanned or planned, non-violent or violent confrontations.
        As indicated, the situations that could evolve into a violent civil disturbance are
        numerous and varied. Often there will be little or no warning before the onset of
        violence or property damage. In a few instances, it may be possible to predict a
        level of civil disorder by the nature of a pre-planned event. However, each civil
        disturbance situation is unique and commanders and supervisory officials must,
        therefore, plan and respond according to the nature and size of the disturbance.
        The policies and procedures presented in this SOP are based upon the concept of
        operational flexibility, and it is expected that officials will exercise sound
        judgment and proper command and supervisory responsibility in the control of a
        civil disturbance.

        In a violent Civil Disturbance the primary objectives of the Incident Commander
        will be to:

               •    Protect persons, including non-participants and participants alike, and
                    property at risk.

               •    Disperse disorderly or threatening crowds in order to eliminate the



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                      immediate risks of continued escalation and further violence.5

                 • Deploy personnel to isolate and contain the people within a crowd
                 who
                    are acting unlawfully.

                 •    Effect the arrest based on probable cause of those individual law
                      violators.6

        It should be noted that if dispersal orders are to be given in a First Amendment
        assembly, the officer issuing the order shall do so at least once (three warnings
        should be given absent exigent circumstances), using an amplification device, and
        allow for a reasonable amount of time for the participants to disperse.

        In the area outside the perimeter surrounding the disorder site, the Incident
        Commander will:

                 •    Move and reroute pedestrian and vehicular traffic around the disorder
                      area.

                 •    Limit access to the disorder area only to those persons approved by the
                      Incident Commander.

                 • Control unauthorized egress from the disorder area by participants
                 who      are subject to arrest based on probable cause.

                 •    Repulse attempts to assist or reinforce the incident participants from
                      outside the area.

        The Incident Commander will establish a Field Command Post at or near the
        location of the disorder, from which he/she will control and coordinate police
        tactical operations. A staging area will also be established for all responding
        emergency personnel and equipment. Deployment of the personnel and
        equipment into the disorder area will be at the express direction of the Incident
        Commander.


        Authorization of Personal Protective Clothing

5
  General orders to disperse a First Amendment assembly shall not be given unless a significant
number of the participants fail to adhere to reasonable restrictions or a significant number of the
participants are engaging in, or are about to engage in, unlawful disorderly conduct or violence
towards persons or property. Dispersal orders may also be given when a public-safety emergency
has been declared by the Mayor and the Chief of Police or his/her designee determines that the
emergency is sufficient to require the dispersal of the assembly.
6
  Police lines should not be used to encircle demonstrators unless it is necessary for their protection or
a decision has been made to arrest those participants that are being isolated.

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   The Incident Commander shall authorize the wearing of hard personal protection
   equipment (such as helmets, gloves, chest protectors, shin guards. etc.) only when
   the donning of such equipment is consistent with the District policy on First
   Amendment assemblies (Appendix M) and only where there is a danger of
   violence.

   Following any deployment of officers in personal protective clothing, the Incident
   Commander shall make a written report to the Chief of Police within 48 hours and
   that report shall be available to the public on request.

   Mobilization of Personnel

   Upon being informed of a civil disturbance and the need for the mobilization of
   personnel, the Chief of Police or his/her designee shall review and evaluate all
   information pertaining to the civil disorder and make a determination as to which
   level of mobilization shall be implemented (adhering to the guidelines of G.O.-
   OPS 803.04 (Emergency Response Plan)).

   Upon being notified that the Department has implemented one of the mobilization
   levels, each Assistant Chief of Police and Senior Executive Director shall ensure
   that all officials under his/her command are notified and carry out their duties and
   responsibilities as required.

   The Metropolitan Police Department is the primary law enforcement authority
   during an unlawful assembly or riot situation in the District of Columbia.
   Assistance may be obtained from other city departments and from law
   enforcement mutual aid and military assistance agreements as necessary.7

   Providing Security for D.C. Fire/EMS and Other Responders

   The Incident Commander shall ensure that all necessary police security will be
   provided to D.C. Fire and Emergency Medical Services Department personnel, as
   well as to other medical and public utility responders, to ensure their safety within
   the disorder area while performing emergency tasks.
   7




    Note: these procedures deal with spontaneous occurrences, not planned events where police
   control forces and command structure are already in place; however, these policies and
   procedures are      applicable to a planned event which degenerates into an unlawful
   assembly or riot.




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VI.     ORGANIZATION OF CIVIL DISTURBANCE UNITS

        The organizational structure of the Civil Disturbance Units (CDU) is designed to
        facilitate command, control and communication. Additionally, the structure
        allows for authority and accountability. In compliance with the National Incident
        Management System (NIMS), the Civil Disturbance Platoons8 will be organized
        as follows:

                •   CDU Squad:                          Seven officers commanded by one
                                                        Sergeant

                •   CDU Platoon:                        Four squads commanded by one
                                                        Lieutenant

                •   CDU District:                       A Number of platoons from the same
                                                        patrol district. The district’s staffing
                                                        levels determine the total number of
                                                        platoons required.

                •   District CDU Commander:             The Captain in command of all CDU
                                                        Platoons from one district.

        The Patrol Districts shall maintain a total of twenty-eight (28) CDU Platoons.
        Additional CDU platoons shall be maintained by non-patrol units at the direction
        of the Chief of Police. The platoons are assigned numerical designations based
        on their Patrol District and Platoon number. Each district shall maintain a certain
        number of platoons based on the Patrol District’s staffing levels, which will be
        organized as follows:

                •   (1) Scooter/Mountain Bike Platoon

                •   (1) Car Platoon:

                •   All remaining platoons shall be denoted as foot platoons and will be
                    provided vans or buses during deployments.

Each platoon can perform any crowd control formation currently used by the Department.




8
 NIMS also requires the common terminology of all police resources. In this case MPD’s CDU
Platoons will be considered Mobile Field Forces (MFF).

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Each platoon is designed with the same squad functions:

               •    1st and 4th Squads           Base squads for crowd control formations.

               •    2nd and 3rd Squads           Support squads for the platoon.

Each squad shall have two (2) grenadiers. The CDU Captains from each District will be
responsible for ensuring that all grenadiers are certified in the use of all departmental less
lethal and chemical weapons.


Total MPD CDU Staffing

                       Captains                    7
                       Lieutenants                28
                       Sergeants                 112
                       Officers                  784

                       Total:                    921

Special Operations Division Personnel

All members of the Special Operations Division are required to be CDU certified and
shall be considered operational resources during CDU activation.

VII. COMMAND ASSIGMENTS AND RESPONSIBILITIES

       During periods in which the Department is fully mobilized for mass
       demonstration operations, the following command assignments and
       responsibilities shall be in effect:

               1.      Chief of Police: As the Commanding Officer of the Metropolitan
                       Police Department, the Chief shall oversee all police activities
                       during CDU activation.

               2.      Assistant Chief, Chief of Staff, Executive Office of the Chief of
                       Police: Shall assist the Chief of Police.

               3.      Assistant Chiefs: Shall be assigned specific duties and
                       responsibilities as designated by the Chief of Police.

               4.      Assistant Chief, Homeland Security Bureau: Shall have
                       command authority over all arrangements and activities within the
                       Homeland Security Bureau, to include the coordination and
                       operational functions specific to the Intelligence Unit, the Special
                       Operations Division and the Civil Disturbance Unit.

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         5.    Commander, Special Operations Division: Is designated as the
               CDU Commander and shall coordinate, command and direct all
               CDU and SOD activities. The SOD Commander will manage all
               traffic control activity and demonstrator activities, and shall
               coordinate the collection and dissemination of pertinent
               demonstration and/or civil disturbance-related information.

         6.    Commander, Criminal Investigations Division: Shall manage all
               plainclothes details and assume operational control of the JOCC
               and CIC operation.

         7.    Director, Metropolitan Police Academy: Shall provide staff
               from the Media Productions Unit for the purpose of videotaping
               any situation that might later be of legitimate value to the
               Department.

         8.    Commander, Narcotics and Special Investigations Division:
               Shall be tasked with coordinating and implementing operations for
               prisoner processing for mass arrests.

         9.    Director, Evidence Control Branch: Shall implement emergency
               property receiving procedures for processing property taken into
               custody during mass demonstrations and civil disturbances. Also
               is responsible for coordinating and implementing the feeding of
               police personnel.

         10.   Office of the Chief Financial Officer: Shall arrange for specific
               procurement of items and equipment required during the course of
               operations.

         11.   General Counsel: Shall provide field assistance to the Chief of
               Police and other command personnel, and perform liaison
               functions with courts, the Office of the U.S. Attorney, the Office of
               the Attorney General, bar associations, and other legal
               organizations as applicable. The General Counsel shall coordinate
               the implementation of court orders pertaining to the Department
               and responses to inquiries from judges and other members of the
               legal community. All court orders and inquiries from judges shall
               immediately be brought to the attention of the Chief of Police and
               the General Counsel.

         12.   Official in charge of the CIC/JOCC: Shall ensure that the Joint
               Operations Command Center (JOCC) is prepared to handle major
               events and ensure that video capabilities and downlink for Falcon
               are operational and proper staffing is on hand to record and

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                   coordinate the movement of personnel. (Appendix A)

           13.     Outside Agency Command Posts or Emergency Operations
                   Centers: A number of command officials who are trained to
                   serve as Emergency Liaison Officers (ELO) shall be used to staff
                   the various command posts that may be established during large
                   events (US Capitol Command Center, US Secret Service
                   Command Center and the EMA Emergency Operations Center,
                   etc.)

           14.     Non-CDU Captains and/or Inspectors: Shall be trained as
                   Emergency Liaison Officers (ELO’s) to operate in an Emergency
                   Operations Center (EOC) environment. During event planning
                   EOC assignments shall be made from this trained cadre.

VIII. FULL MOBILIZATION OF PERSONNEL IN SUPPORT OF
      EVENTS

    When a full mobilization of personnel is necessary to support large events or First
    Amendment assemblies the following units shall provide support as enumerated
    below:

    Force Investigation Team (FIT)

    The Office of Professional Responsibility has the responsibility for monitoring,
    assessing, and investigating allegations or instances of misconduct and/or use of
    force through the Force Investigation Team (FIT) of the Internal Affairs Division
    (IAD). The FIT shall investigate all incidents involving the use of force arising
    from a First Amendment Assembly according to the procedures outlined in
    Appendix L.

    Specialized Equipment Support Unit (SESU)

    The Metropolitan Police Department’s Specialized Equipment Support Unit
    (SESU) was established to assist CDU platoons and arrest teams in removing
    protesters from improvised locking devices. By employing devices made from
    cement, steel, wood, and other materials, protesters intentionally block roadways,
    entrances to public/private property, and resist arrest.

    SESU members are trained, certified and equipped with special extracting tools to
    defeat improvised locking devices used by demonstrators. When it is apparent
    that demonstrators have locked themselves into improvised locking devices, the
    platoon commander shall notify the JOCC that the services of SESU are needed.
    Medical Services Division



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   The purpose of the Medical Services Division is to facilitate the health and
   welfare of all members by taking reasonable steps to provide medical assistance is
   available to them during times of large demonstrations. Where CDU has been
   activated, the optional sick leave program may be suspended. When those
   conditions are in place, the following procedures shall be adhered to:

   All members reporting sick are required to report to the Medical Services
   Division for an evaluation. During the hours when the Medical Services Division
   is closed, members reporting sick shall respond to the Providence Hospital
   emergency room for evaluation. Members reporting for evaluation at the Medical
   Services Division or the hospital emergency room shall respond attired in the
   uniform of the day and have in their possession all necessary equipment to
   assume their duty assignments.

   Explosive Ordinance Unit

   Members should abide by the procedures outlined in GO-RAR - 309.2 (Bomb
   Threats and Explosive Devices), GO-RAR - 802.04 (Hazardous Material
   Incidents) and CIR-02-09 (Hazardous Materials Information) for a more
   detailed list of duties and responsibilities regarding suspicious packages, and
   unknown substances.

   D.C. Fire and Emergency Medical Services Department

   When it has been determined that a civil disturbance of major proportions is
   contemplated or underway, a request will be made to the District of Columbia
   Fire and Emergency Medical Services Department (DCFEMS) to provide the
   necessary units and assistance to be staged for response to medical requests.

   Whenever medical treatment is required for police officers as a result of a civil
   disturbance, a written and photographic record shall be made of all injuries to
   police officers in accordance with GO-RAR- 201.14 (Photographing Injured
   Police Officers). When the injury is the result of an assault and an arrest has been
   made for an "Assault on a Police Officer," the case shall be processed in
   accordance with the provisions in GO 701.3 (Handling Assaults on Police
   Officers).

   Relief and Feeding of Personnel

   Each unit commander shall be responsible for arranging a schedule of relief for
   personnel under his/her command. In this regard, commanders shall arrange a
   location where food and facilities will be available to their personnel. Every
   effort shall be made to ensure that personnel are given a period of relief as
   conditions allow.




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      The official designated in charge of the Commissary Detail shall arrange for the
      delivery of food and beverages to pre-determined locations at pre-determined
      times. Should a subsequent feeding of personnel become necessary, and it is
      necessary to change the delivery locations, the official shall coordinate through
      the Incident Commander those locations most accessible to personnel.

IX.   OPERATIONAL PROCEDURES FOR MASS DEMONSTRATIONS

      Mass demonstrations and circumstances or events surrounding them do, on
      occasion, give rise to situations in which substantial numbers of persons engage
      in unlawful conduct jointly or simultaneously within close proximity of one
      another.

      It is the policy of the Metropolitan Police Department to ensure that persons may
      enjoy free and open expression in this city with the utmost confidence that their
      constitutional rights will be respected.

      Accordingly, it is the policy of the Metropolitan Police Department to avoid
      making arrests of substantial numbers of persons in response to such incidents,
      when arrest avoidance is reasonably possible in the interests of safety and
      security.

      To implement these policies, this manual sets forth procedures and guidelines to
      be employed in policing large First Amendment assemblies (mass
      demonstrations). These procedures apply in circumstances in which, by virtue of
      the number of persons acting jointly or simultaneously within close proximity,
      there exists a reasonable likelihood that MPD personnel, in accordance with the
      requirements of the United States Constitution, may have to:

             1.      Direct those persons to cease and desist in their activities and to
                     disperse from the location for reasons of safety and security, or

             2.      Direct the arrest of such a substantial number of persons for
                     reasons of safety and security that arrest processing of those
                     individuals could not reasonably be anticipated to be accomplished
                     within four (4) hours of the time of arrest, through routine
                     processing measures.

      Preparation for Events that may Result in Mass Arrests

      In some cases, groups planning to engage in illegal conduct will make their
      intentions known in advance. In such cases, the Department shall ensure that the
      necessary resources and staffing are in place to respond to such events while
      minimizing the disruption to routine police services. In these cases, contingency
      planning for mass arrests shall include the following:


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         1.    The Commander, Special Operations Division, shall coordinate all
               planning relative to the Department's preparation for responding to
               a mass demonstration.

         2.    The Department's response will be based on the best available
               information as to the size, purpose, and expected type of activity of
               those participating in the demonstration. Other essential elements
               of information necessary to effectively plan the Department's
               response are:

                  Time and location of demonstration.

                  Special circumstances of individuals involved (special needs,
                   disabled, etc.).

                  Estimated number of participants.

                  Identity of demonstration leaders.

                  Assembly areas.

                  Plans and expected activities of the demonstrations.

         3.    Every effort shall be made to obtain the above information during
               advance negotiations with the leaders of the demonstration.

         4.    The Commander, Special Operations Division, will provide an
               evaluation based on information received by that division.

         5.    After evaluating and determining the type and level of activity to
               be expected during the demonstration, the Commander, Special
               Operations Division, will prepare a departmental action plan that
               sets forth particulars by which the Department will deal with a
               specific event. The plan shall contain provisions for the following:

                      •   Command assignments and responsibilities.

                      •   Manpower, unit structure, and deployment.

                      •   Liaison with demonstration leaders.

                      •   Liaison with external agencies.

                      •   Release of information to the news media.

                      •   Transportation and feeding of personnel.

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                      •   Traffic arrangements.

                      •   First aid stations and ambulances.

                      •   Re-deployment of vehicles.

                      •   Prisoner detention areas.

                      •   Transportation and feeding of potential arrestees.

                      •   Reiteration of the policies regarding arrests, the use of
                          Field Arrest Forms, and the use of force.

         6.    The Commander, Special Operations Division, shall disseminate
               copies of the action plan to all supervisory officials and establish
               an Incident Command Post at or near the location of the event for
               the purpose of providing command, control, and coordination of
               the event.

         7     Each CDU Commander shall be designated a specific staging area,
               from which the operations of the unit can be coordinated with
               subordinate and superior officials.

         8.    CDU Commanders shall ensure that all subordinate
               officials and officers are wearing their badges and
               nameplates properly and that badge numbers and
               nameplates are not concealed, damaged, or tampered with,
               so as to interfere with the ability of the officer to be
               identified in compliance with G.O. 1101.1 (Personal
               Appearance, Uniform and Equipment).

               Additionally, when officers are directed to don CDU
               protective gear, the CDU Commander (or appropriate
               supervisor) shall ensure that all officers have their assigned
               badge numbers affixed to their helmets and are reminded
               that officers are prohibited from removing or tampering
               with their badges or nameplates and are required to
               verbally identify themselves when asked their identities.

   Crowd Management

         a.    Where the threat of violence is expected, a minimum number of
               personnel shall be positioned as crowd managers.



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         b.     These members shall be dressed in the uniform of the day.

         c.     They shall be positioned, where possible, in such arrangements
         that
                physical contact with the assemblage can be kept to a minimum.

         d.     It shall be their task to assess the mood of the crowd and to
         respond
                to changes in crowd behavior as directed by the Incident
                Commander. Accordingly, it is important that supervisors are
                aware of the type of crowd that is being managed; and that
                members are reminded at the staging site on what to expect from
                the participants and what types of alternative responses the
                members may anticipate. Absent exigent circumstances, the
                Incident Commander will determine the type of response deemed
                necessary; causing the unit to act in concert following his/her
                direction.

         e.     Members shall not engage in demonstration-related discussion
         with
                participants. They shall conduct themselves so as to display an
                attitude of neutrality. However, members shall be courteous and
                helpful, mindful that expressions of friendliness are a valuable tool
                in maintaining peace. Communication is an essential tool in crowd
                management. It ensures unity of action among police officers, and
                that police officials and crowd leaders understand one another. It
                must be constant, clear, and immediate, and on many occasions,
                can serve to defuse threatening situations.

         f.     Supervisors shall constantly observe and speak with members
                under their charge to ensure that they are complying with the
                orders of the unit commander that they are completely aware of
                probable responses to crowd attitude change, and that members
                who are showing strain are provided temporary relief.

         g.     CDU Commanders shall establish communication with
                demonstration leaders as soon as possible, and maintain the same
                as a sign of cooperation, as a means of obtaining first-hand
                knowledge of crowd mood, and as a tool to facilitate negotiations
                and maintain the peace.




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   Crowd Dispersal

   When the intensity level of a crowd rises and unlawful disruption, either through
   violent or passive means, is occurring to the extent that the Incident Commander
   determines there is a need to take police action, he/she will instruct the affected
   CDU commanders to issue warnings to the crowd to disperse. In issuing such
   warnings the following procedures shall be utilized by CDU commanders.
   (Appendix D)

   Issuance of Warnings

   Whenever possible, an official deeming it necessary to issue warnings shall
   confer with the unit commander to explain the official’s basis for believing that a
   warning should be issued. The commanding officer shall make any inquiries
   necessary to satisfy himself or herself whether the issuance is justified and direct
   that the issuing official act accordingly. This process is to be repeated as
   necessary during the course of the demonstration.

                 The issuance of warnings shall be of such amplification and
                  repetition that are reasonably calculated so as to be heard by the
                  entire assemblage.

                 The unit commander or that commander’s designee shall issue the
                  warnings from stationary vantage points that are observable to the
                  crowd.

                 Additional warnings, where necessary, shall be given from police
                  vehicles, equipped with public address systems, moving around the
                  crowd.

                 The warning shall consist of an announcement citing the offenses
                  or violations that are being committed by the participants, and a
                  request or order, whichever is applicable, that the crowd disperse.
                  To ensure clarity, accuracy and consistency the warning shall be
                  issued, whenever possible, using the “MPD Dispersal Order”,
                  which is attached as Appendix D.

   The entire warning process shall be documented by means of an audio-visual
   recording, if available. If this is not available, then written documentation must
   be retained and made a part of any arrest files. (Appendix D)




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   Verbal Persuasion

   As a first means of dispersing a crowd under static conditions, the unit
   commander shall attempt to verbally persuade the crowd to disperse of its own
   accord by announced available exit routes.

   Arrest

   An assembly of persons will not be arrested simply because the group does not
   possess a permit. Such an arrest may only occur after an order to disperse has
   been clearly communicated in a manner that is reasonably calculated to be heard
   by each of the persons in the group and a reasonable opportunity to disperse has
   been afforded, but not utilized by members of the assembly.

   The issuing official shall recommend to the Incident Commander whether arrests
   should be made. If the issuing official recommends that a mass arrest be
   commenced, the Incident Commander shall satisfy himself or herself that
   probable cause exists for the arrest of each person to be arrested. The Incident
   Commander should make the inquiries reflected on the “Pre-Mass Arrest
   Checklist” in order to verify that a mass arrest is proper and lawful. (Appendix
   E)

   The arrest of every person must be supported by probable cause. An issuing
   official shall not recommend the arrest of any person unless probable cause to
   support the arrest of that person exists. The Incident Commander shall not order
   the arrest of any person for whom he or she has not verified the existence of
   probable cause to arrest.

   The number of warnings given, the method used, and the time intervals between
   warnings, shall be recorded on the commander's log. Documentation of the
   procedures shall be made pictorially and audibly, if possible. The documentation
   of procedures must reflect the availability and location of exit routes available to
   the crowd, and of any persons who leave the area.

   Commander's Event Log

   The Incident Commander and Unit Commanders (Platoon Lieutenants) shall
   designate one member of his/her unit to serve as the unit recorder for the purpose
   of entering on the Commander's Mass Demonstration Event Log all significant
   events associated with the operation of the unit. (Appendix C) Entries into the
   log will be made at the direction of the unit or Incident Commander. When it
   becomes necessary for subordinate supervisory officials to initiate any
   independent action, or engage in or observe events that could be considered
   significant, they shall, as soon as possible, advise the unit commander for
   inclusion into the commander's log. Examples of events warranting entry into the
   log would be:

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          1.      Occasions requiring the use of force. Entries shall include the
                  circumstances, type of force used, duration, and effect.

          2.      Tactical orders issued to personnel.

          3.      Orders received from higher authority.

          4.      Significant acts on the part of the demonstrators.

          5.      Incidents involving mass arrests.

          6.      Complaints alleging serious police misconduct.

          7.      Issuance of warnings for mass arrests.

   Termination of Mass Demonstrations Details

   When conditions have subsided, the Incident Commander shall survey the
   affected areas and determine whether additional police personnel are still needed
   at a particular location. If it is determined by the Incident Commander that no
   further police action is required, other than normal patrol, the detail shall be
   terminated.

   Accountability of Equipment

   Prior to relieving members of their command, unit commanders shall cause items
   of equipment that were issued by the SOD/CDU Storeroom to be accounted for
   and returned to that unit within the required due date and time. This is to include
   coordination with the SOD/CDU Storeroom to return any rented vehicles.

   District, division and platoon commanders shall prepare an After-Action Report
   and submit it to the Special Operations Division Commander, within five calendar
   days of the return to normal operations.

   The After-Action Report shall contain a list of all events that occurred in
   chronological order to include:

              The date and time that each event occurred.

              Brief description of the event.

              Unit action(s) taken.

              Outcomes, such as number of persons arrested.


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                  A complete and detailed report of:

                      o Problem areas encountered.

                      o Highlights of significant events and unsatisfactory
                           conditions.

                      o Any recommendations for improvement.

                      o Negative reports are required.

X.      CONSEQUENCE MANAGEMENT

        In the event that damage or destruction occurs within the District of Columbia,
        either at the hands of demonstrators or as a result of an unrelated incident, the
        District of Columbia Emergency Management Agency (DCEMA) will be the lead
        agency coordinating the city’s response to incidents of man-made destruction,
        instances of power, water or infrastructure failure or natural disasters. DCEMA
        will have rapid response teams available to respond to spilled debris, broken
        windows or scenes requiring emergency repairs. DCEMA will have immediate
        access to the various utility companies in case they are required for emergency
        situations. DCEMA will also coordinate the removal of excessive trash or other
        debris in areas where it may create hazards with possible demonstrator activities.
        Requests for the services of DCEMA can be made through the JOCC or CIC,
        which will coordinate with the MPD representative assigned to the DCEMA
        Command Post.




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                      Appendix A

               JOCC/CIC Operations




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 The JOCC/CIC/IOCC will be established in accordance with the guidelines set forth in
 GO-RAR - 803.06 (Activation and Operation of the Command Information Center).
Mass Demonstration First Amendment Gathering
                 Work Flow

                            First Responder



                      CIC/JOCC
                      Information Gathering
                         • Number of persons/protestors
                         • Name of group
                         • Status of persons/protestors (i.e., Peaceful, Unruly,
                           etc.)
                         • Name of reporting member
                         • Watch Commander and contact number of affected
                           district.




       Command Staff (Page Notification)
             • COP/EAC Paging Group
             • General Counsel
             • SOD Officials
             • Night Supervisor & Watch Commanders
             • Intelligence

              Telephonic Notifications
                 • EMA Notification via Telephone
                 • HSOC
                 • Any other affected agency

NOTE: Pages of an urgent nature will be followed by a telephone call, accordingly.



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Detailed Documentation in the JOCC,CIC Running Resume
  • When the incident began
  • Location of the incident
  • Source of information
  • Notifications made
         o Names of members (and/or paging group name) notified
         o Date/Time of telephonic notifications
  • Date, time JOCC is deactivated and the name of the official
      authorizing the deactivation.

Quality Assurance Measures
  • CIC Watch Commander shall be responsible for all pages.
         o Paging Clarification
               Pages shall be gleaned prior to being sent.
                     • Pages shall be read back to the information
                        provider, and
                     • Shall be read aloud prior to being sent to ensure
                        the information is accurate.
         o Urgent pages or pages of a sensitive nature shall be followed up
           with a telephone call to the:
               Chief of Police
               EAC
               Director of Field Operations Support Division.




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                      APPENDIX B

                Public Information Unit




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1.      The Public Information Unit (PIU) is in charge of activities relating to the press
        and the release of information related to Mass Demonstrations and other large
        events. The PIU will arrange all press conferences and organization areas for
        staging of the press and or news media vehicles in cooperation with the detail
        commanders. In addition, the PIU will prepare press releases prior to the event
        informing the public of expected street closures, demonstrator activity and other
        non-sensitive noteworthy information likely to impact the visitors and residents of
        the District of Columbia.
        A.     The PIU is also responsible for coordinating with public information officers
               from other agencies that will take part or play a role in upcoming
               demonstrations. When this is necessary PIU will institute and/or become part
               of a Joint Information Center (JIC). Some of the agencies that will occupy
               the JIC include: U.S. Secret Service, U.S. Park Police, U.S. Capitol Police,
               Metro Transit Authority, D.C. Fire and Emergency Medical Services
               Department, U.S. Bureau of Alcohol, Tobacco and Firearms, and the District
               of Columbia Courts. The purpose of the JIC will be to exchange information
               and establish protocol for the coordinated release of information.

        B.     The Metropolitan Police Department (MPD) shall allow media
               representatives’ reasonable access to all areas where a First Amendment
               assembly is occurring. At a minimum, the MPD shall allow media
               representatives no less access than that enjoyed by members of the general
               public and, consistent with public safety considerations, shall allow media
               representatives access to promote public knowledge of the assembly.

        C.     The MPD personnel located in or near an area where a First Amendment
               assembly is ongoing shall recognize and honor media credentials issued by or
               officially recognized by the MPD.

        D.     The MPD shall make reasonable accommodations to allow media
               representatives effectively to use photographic, video, or other equipment
               relating to their reporting of a First Amendment assembly.

        E.     Media misconduct

               1.     All reports of media misconduct shall be immediately forwarded to
                      the PIU for investigation. This information shall include the name,
                      press affiliation, press credential number and a synopsis of the
                      incident as well as the necessary contact information for the member
                      witnessing the activity. In instances of media misconduct, the
                      observing member shall notify an MPD Official who shall
                      immediately report the incident to the PIU office at 727-4383.
               2.     Members shall also be guided by GO-RAR - 204.01 (Release of
               Information to the News Media).



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                     APPENDIX C

                       P.D. 759B

       MASS DEMONSTRATION
            EVENT LOG




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P.D. 759B 11/75                                      DATE
                  METROPOLITAN POLICE DEPARTMENT
                        WASHINGTON, D.C.

      COMMANDER’S MASS DEMONSTRATION EVENT LOG
UNIT COMMANDER          UNIT RECORDER          UNIT DESIGNATION


   TIME                LOCATION                        EVENT




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                       APPENDIX D

      WARNING FORMAT FOR MASS
              ARRESTS




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 The below listed warning format is printed here for reference, and is to be used when
 preparing to make arrests in mass demonstration situations. The information contained in
 any warnings that are given in mass arrest incidents must be documented and retained for
 reporting requirements and notifications.

                                      WARNING

 I am ______________________________ of the Metropolitan Police
        (Official’s name)

 Department. You are in violation of
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                       (State criminal offense)
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 If you do not cease your unlawful behavior and disperse peaceably you will be
 arrested.



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 ***Record the time that all warnings have been voiced to the violators.

 1st Warning ____________ (Wait 5 minutes before reading 2nd warning)

 2nd Warning ___________ (Wait 2 minutes before reading 3rd warning)

 3rd Warning ___________ (Commence making arrests)


 Warnings should be given with either a bullhorn or a police vehicle PA system, and
 they must be given in a loud and clear manner. If possible, members of the media
 production unit of the MPDC will videotape the reading and arrests procedures.



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                    APPENDIX E

        Pre-Mass Arrest Checklist




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Has the Official recommending a mass arrest articulated justification for a mass arrest on these
bases?

What actions, by the persons to be arrested, require the proposed mass arrest?
       Has anyone been injured?          Who? What was the cause of the injury?
       Has property been damaged? What? What was the cause of the damage?

Will an effort to arrest likely cause more injuries than alternative police action?

Will an effort to arrest likely cause more property damage than alternative police action?

Will an effort to arrest likely cause greater disruption of traffic flow (or potentially block
evacuation routes) than alternative police action?

What are the offenses committed/to be charged?

What evidence provides probable cause for the arrest upon those charges as to each person? You
must have articulable probable cause to make any arrest.

        If the offense is incommoding, unlawful assembly and/or failure to obey a police order:

        How many orders to disperse were given?

        How were the orders communicated?

        When was each given?

        Who gave each order to disperse?

        Were audio and/or video recordings made of the warnings?

        Is there another way to gain control of the situation?

        Is there a viable alternative to a mass arrest?

            o    Is dispersal of the crowd and arrest of a smaller number of persons as the group
                 disperses reasonable?
            o    Is extraction of a limited number of offenders reasonable?

    Has the JOCC [Joint Operations Command Center] confirmed (or have you independently
    determined) that there are sufficient resources available to safely make number of arrests
    anticipated?

            o    Prisoner Control Activated
            o    Housing Space
            o    Feeding capabilities
            o    Arresting Officers (15-1 rule)
            o    Transportation
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                    APPENDIX E

        Pre-Mass Arrest Checklist




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Has the Official recommending a mass arrest articulated justification for a mass arrest on these
bases?

What actions, by the persons to be arrested, require the proposed mass arrest?
       Has anyone been injured?          Who? What was the cause of the injury?
       Has property been damaged? What? What was the cause of the damage?

Will an effort to arrest likely cause more injuries than alternative police action?

Will an effort to arrest likely cause more property damage than alternative police action?

Will an effort to arrest likely cause greater disruption of traffic flow (or potentially block
evacuation routes) than alternative police action?

What are the offenses committed/to be charged?

What evidence provides probable cause for the arrest upon those charges as to each person? You
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        How many orders to disperse were given?

        How were the orders communicated?

        When was each given?

        Who gave each order to disperse?

        Were audio and/or video recordings made of the warnings?

        Is there another way to gain control of the situation?

        Is there a viable alternative to a mass arrest?

            o    Is dispersal of the crowd and arrest of a smaller number of persons as the group
                 disperses reasonable?
            o    Is extraction of a limited number of offenders reasonable?

    Has the JOCC [Joint Operations Command Center] confirmed (or have you independently
    determined) that there are sufficient resources available to safely make number of arrests
    anticipated?

            o    Prisoner Control Activated
            o    Housing Space
            o    Feeding capabilities
            o    Arresting Officers (15-1 rule)
            o    Transportation
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                    APPENDIX F

                      Mass
               Arrest Proceedures




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   A.     Arrests

          1. General: Arrests during mass demonstrations and civil disturbances shall
             be made at the direction of the Incident Commander. However, this
             policy is not meant to impede a member in fulfilling his/her responsibility
             to protect the public. It is his/her duty to take immediate and, if necessary,
             independent action when a felony offense or a crime of violence, as so
             designated by the D.C. Code, is being committed.

          2. Pursuit: Except for felony offenses, members of the force shall not pursue
             demonstrators into buildings for the purpose of effecting arrests unless
             specifically instructed to do so by an official. Officials shall accompany
             and exercise close control over members under their command who go on
             private property or enter buildings to effect arrests.

          3. Documentation: During mass demonstrations and civil disturbances, every
             arrest will be documented consistent with the department's responsibility
             to protect life and property and to prevent unlawful conduct.

P.D. 759 (Field Arrest Form)

The following outline will provide members the necessary information and techniques in
completing a Field Arrest Form.

          1. The P.D. 759 (Field Arrest Form) is designed to simplify the arrest,
             transportation, processing, and prosecution of a person who commits an
             unlawful act while participating in a mass demonstration. These forms are
             also designed to identify and assist in the processing of property taken into
             police custody during a mass demonstration.

          2. The Incident Commander alone shall authorize use of the Field Arrest
             Form.

          3. A Field Arrest Form shall be prepared for each person arrested regardless
             of the specific offense. For misdemeanor charges, the PD 759 is the only
             form required. For felony charges, the usual reporting forms for the
             offense, arrest, and prosecution are also required. Multiple charges, if any,
             are to be listed on the same Field Arrest Form. Any information required
             on the form shall be completely and legibly printed with a ballpoint pen.
             The following items in Section A of the Field Arrest Form shall be filled
             out the by the arresting officer:

              1)     Date: Insert "month, day, year" (e.g. Oct 1, 1976).

              2)     Time: Use 2400-hour system for time of arrest.



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               3)     Serial Number: Is pre-printed on the form.
                      Arresting officers shall copy this number on the back of the
                      Polaroid picture that shall be attached to the fourth copy of the
                      form.

               4)     Charge: Print the applicable charge.

               5)     Location of Arrest: Self-explanatory.

               6)     Location of Offense: Filled in only if location is other than shown
                      in the item titled "Location of Arrest."

               7)     Brief Description of Circumstances of Arrest:
                      This is perhaps the most important item on the form in determining
                      the possibility of successful prosecution. It is advisable, therefore,
                      to be as specific and detailed as time and circumstances will
                      permit. For example, it is better to record "sitting in center of
                      intersection," rather than "sitting in street." As much factual detail
                      of this nature as possible should be noted. However, it is not
                      necessary to repeat information contained in other items on the
                      form. Additionally the arresting officer shall note the name of any
                      federal officer or agent who questioned the arrestee, noting the
                      name of the federal agency, date time and location of the
                      questioning and whether MPD was given copies of any audiotapes,
                      videotapes or written versions of the questioning.

               8)     Name of Suspect: First name, middle initial, and last name of
                      arrested person. (The arresting officer shall make a reasonable
                      effort to obtain the defendant's name, and if the defendant refuses
                      to provide his/her name shall indicate that in the section.).

               9)     Arresting Officer, Badge No., & Unit: Self-explanatory.

               10)    Court Date: Arresting officer's assigned court day

Distribution of the Field Arrest Form shall be as follows:

Original (White Copy): Accompanies prisoner to detention facility; held there for use
by Prisoner Control Center.

Second (Yellow Copy): Arresting officer's copy.

Third (Pink Copy): Accompanies property sent to a central Property Receiving Office
or detention facility, when an arrest is made and property is involved. In cases where an
arrest has been made and property is not involved, the pink copy shall accompany the


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prisoner to the detention facility where Prisoner Control will accept and forward it to the
Data Processing Division.

Fourth (Hard Copy): Accompanies prisoner to detention facility. Three (3) Polaroid
photos shall be attached to this copy. The Prisoner Control Center shall have
responsibility for the final and proper disposition of this copy.

If the D.C. Superior Court puts itself in emergency session, a Field Arrest Form shall
also be made for all persons who are under arrest and in custody of the department at the
time the emergency procedures are put into effect.

Arrest Team Procedures

Squads of 8 officers under the supervision of a sergeant shall form an arrest team. No
member shall arrest more than 15 persons AT ANY ONE particular location.

When a crowd, or segment of it, has failed to comply with warnings to disperse, the unit
commander shall direct arrest teams to begin making arrests, advising team members of
the appropriate charge or charges.

The squad supervisor shall then designate team members to make the arrest of selected
participants.

If an arrestee is seated and agrees to walk, the arresting officer or assisting officer shall
lead him from the crowd to the transport vehicle. If an arrestee is seated or lying down
and refuses to walk, they shall be carried by two or more officers.

At the transport vehicle the arrestee shall be personally advised of the charges and
photographed along with the designated arresting officer.

If the arrestee is not going to be questioned about matters relating to a misdemeanor
offense, it is not necessary that the Miranda warning of rights be given to the arrestee at
that time. However, if a participant is charged with a felony or will be subject to
questioning for a misdemeanor offense or violation, the Miranda warning of rights shall
be given at the time of arrest.

The prisoner shall be searched for weapons, evidence, or contraband; a PD 759 prepared
for each arrestee; three (3) Polaroid photographs taken of the arrestee and arresting
officer together; and the prisoner and property turned over to the transportation officer.

Unit commanders shall ensure that a sufficient number of teams are available to handle
the arrest function properly and for relief of teams that have handled a maximum number
of prisoners at one location.

Courts have become increasingly exacting in their requirements regarding mass arrest
procedures. It cannot be emphasized too strongly that all field arrest forms should be

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filled out as accurately and completely as time and circumstance permit. It is
important that all individuals who are arrested at one location, at one time, and for
similar behavior, be charged with the same violation (s), and that the description of the
circumstances of arrest be expressed in the same manner. Inconsistency in any of
these items may be regarded by the court as sufficient grounds for questioning the
validity of all field arrest forms originating at that time and place, and may
consequently result in the release of the suspects without further adjudication.

It should also be remembered that when the court is in emergency session, the
information contained on the field arrest form may constitute the only evidence
available to the judges in deciding whether or not to hold an individual for further
action. At subsequent court appearances, additional evidence may be developed and
presented, but this opportunity will be lost if the field arrest form does not provide the
basis upon which to proceed.

Transportation of Prisoners

The transporting officers shall obtain the first, third, and fourth copies of the Field Arrest
Form from the arresting officer. Transporting officers shall not accept prisoners without
a properly prepared Field Arrest Form and Polaroid photographs.

Transporting officers shall accept property from arresting officers and shall ensure that
the property, or the container into which the property is placed, is legibly marked with
the serial number appearing on the Field Arrest Form. In these cases the third copy of the
Field Arrest Form shall accompany the property.

When all arrestees have boarded the transport vehicle, are safely seated, and the transport
vehicle has commenced its travel from the arrest location to the prisoner processing
center, a member of the department is to read or play a recording of the text of the
“Notification of Rights” form in a manner audible to all persons in the vehicle. Once at
the prisoner processing center, as arrestees are initially removed for processing that
arrestee shall be provided a copy of the form to be read. In addition, the text of the form
is to be reflected on large signs that are to be placed conspicuously throughout the
processing area. This notice shall be offered in Spanish to those persons who require or
desire such notice in Spanish.

At the detention facility, the transporting officer shall deliver the prisoner along with the
first, third, and fourth copies of the Field Arrest Form, all of which are handed over to the
receiving officer. These persons shall be processed in accordance with mass arrest
prisoner processing control procedures (see Appendix H) and provided release options
as applicable under the Citation Release Program or by posting bond or collateral.


Property

The customary rules of evidence remain in effect during emergency situations; the Field

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Arrest Form must be prepared accurately to ensure proper presentation of the facts in
court.
All articles of property taken into police custody shall be marked with the serial number
that appears on the Field Arrest Form. Markings should be in such a position as to
prevent permanent damage to the property. Articles such as clothing and jewelry shall be
placed in container bags. In these instances, each article of property need not be marked.
 The serial number that appears on the Field Arrest Form shall be written on the outside
of the bag. The third (pink) copy of the Field Arrest Form must accompany the property.

When so ordered by the Chief of Police, a Property Receiving Officer shall be established
and staffed by the Evidence Control Branch. During the periods when this office is in
service, all property taken into police custody as a result of activities connected with a
mass demonstration or a civil disturbance shall be forwarded to the Property Division,
accompanied by the third (pink) copy of the Field Arrest Form. The Evidence Control
Branch shall then be responsible for processing such property.

Property that comes into police custody, even though no arrest has been made (i.e. found
or abandoned items), shall be forwarded to the Evidence Control Branch, if in operation,
or otherwise to the nearest detention facility by means of a Field Arrest Form completed
as accurately as possible. The recovering officer shall retain the first, second, and fourth
copies. In addition, he/she shall arrange for the expeditious removal of property by the
most available means.

When the Evidence Control Branch is not activated, the recovering officer shall be held
responsible for the processing and proper disposition of all property coming into his/her
possession until forwarded to the Evidence Control Branch per GO-RAR-601.01
(Recording, Handling, & Disposition of Property Coming into the Custody of the
Department).

In cases of mass seizures of property or evidence, every attempt shall be made to
document the seizure and preparation of said items via videotape or photographs. This
documentation will strengthen the Department’s position as to the treatment of these
items to reduce the likelihood of frivolous claims of damage




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                   APPENDIX G

                         P.D. 759

          FIELD ARREST FORM




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                   APPENDIX H

 Mass Arrest and Prisoner Control
           Procedures




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Standard Operating Procedures for Mass Arrest and Prisoner
                        Control
The mass arrest prisoner control system involves three stages:
              Part I:         Arrest and transportation of prisoners
              Part II:        Processing of prisoners
              Part III:       Housing of prisoners

I. ARREST AND TRANSPORTATION OF PRISONERS

       A.      Mass Arrest:

            1. District personnel will handle routine arrests in the usual manner at their
               respective districts or at the designated alternate sites. Prisoner control
               will only handle arrests due to civil disorder arising from events
               associated with the demonstration. PD Form 759, Field Arrest Forms will
               be used for these arrests. No prisoner will be accepted at the prisoner
               control processing site without a PD 759 and three clear Polaroid/digital
               photos of the arrestee with the arresting officer.

            2. The determination to arrest under the mass arrest system will be made by
               the Incident Commander.

            3. Once mass arrests have been ordered, arrest teams will move in and effect
               the arrests. Arrestees will be restrained and brought to a prisoner control
               vehicle for transportation. MPD shall only use such restraints in the
               transporting, processing, and detention of persons as the Chief of Police or
               his designee determines to be reasonably necessary to maintain the safety
               of the arrestees and of MPD arresting, transporting, and/or processing
               personnel, and to prevent escape.

            4. All arrestees are to be secured in accordance with MPD G.O. 502.01,
               Transportation of Prisoners. Where flex-cuff restraints are used to secure
               an arrestee’s hands or arms, the officer applying the flex-cuffs must
               always check restraint tightness. To avoid injuries that may be caused by
               over-tightening the restraints, when applying the flex-cuff, the officer is to
               draw the strap up only until the strap comes in contact with the arrestee’s
               skin at all points. The officer is then to attempt to insert his or her index
               finger between the strap and the arrestee’s wrist. If the officer cannot
               readily place his or her index finger between the strap and the arrestee’s
               wrist, the officer is to immediately remove the flex-cuff and properly
               apply a new flex-cuff to prevent escape but no tighter.




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        5. Officers are to give prompt attention to complaints that the cuffs are too
           tight. Even after using the precautionary measures indicated above to
           prevent over-tightening of flex-cuffs, if the restrained person complains
           that the cuffs are too tight the officers should stop (if reasonably possible)
           and check the tightness of the cuffs. Even if the cuffs are properly
           applied, the person could still have placed pressure on the cuffs or the
           person could have turned his or her hand within the cuff and caused
           constriction on part of the hand. If upon checking the cuffs the officer
           finds that the cuffs are too tight, the officer is to remove the flex-cuffs as
           soon as reasonably possible and replace them with flex-cuffs applied to fit
           properly. Further, if upon checking the officer finds that the flex-cuffs are
           at the appropriate tightness and there does not appear to be a problem, the
           officer need not loosen the cuffs. However, the officer should document
           in his/her report that upon complaint the cuffs were checked and found not
           to be too tight.

        6. No arrestee shall be restrained by connecting his or her wrist to his or her
           ankle, nor shall any arrestee be restrained in any other manner that forces
           the person to remain in a physically painful position. Further, except for
           those arrested for the commission or threatened commission of a violent
           act toward another person, or the destruction or threatened destruction of
           property, members shall only use handcuffs, plastic cuffs, or other
           physical restraints on persons arrested in connection with a First
           Amendment assembly and held in any police processing center to the
           extent reasonably necessary, and in a manner reasonably necessary, for the
           safety of officers and arrestees.

   B.      Arrest Procedures:

        1. When mass arrests have been ordered, arrest teams will move in and effect
           the arrest. Arrestees will be brought to the Prisoner Control Bus where
           they will be thoroughly searched for weapons and contraband by the
           Prisoner Control transportation personnel before being placed on the bus.

               a) Each arresting officer will be responsible for arresting and
                  processing no more then fifteen (15) arrestees per site.

               b) The arresting officers will leave the scene with their arrestees.
                  They will respond to the prisoner-processing site and complete the
                  PD 759, Field Arrest Forms (a PD 759 must be completed for each
                  arrestee). Arresting officers will be advised if they need to go to
                  court or report back to their field (CDU) assignment. Arresting
                  officers can ride on the transport vehicles if space is available.
                  Otherwise they must provide their own transportation to prisoner
                  processing sites.


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   C.    Transportation of Prisoners:

         1. All transport vehicles will be staged during the detail at locations to be
            determined by the event commander, in coordination with the
            transportation shift commanders.

         2. The transportation shift commander shall insure the following
            procedures are followed:
            • Prisoners are thoroughly searched for weapons and contraband by
               the Prisoner Control transportation personnel before being placed
               in the vehicle.
            • Adults and juveniles are transported separately.
            • Each arresting officer is responsible for arresting and processing
               up to fifteen (15) arrestees per site or arrest.
            • Arresting officers accompany their arrestees to the designated
               processing sites.
            • Each bus can have up to forty-five (45) arrestees, one (1) arresting
               officer for each fifteen (15) arrestees, and two (2) Prisoner Control
               officers.
            • Three (3) photographs of the arresting officer with the prisoner
               will be taken either prior to loading the prisoner on the bus unless
               the Incident Commander determines that circumstances require
               that arrestees be transferred prior to being photographed with their
               arresting officers in order to protect the safety of the arrestees,
               police officers, and/or others. This requirement that three
               photographs be taken prior to transport will ensure that arresting
               officers will be properly identified to their arrestees and will be
               able to participate appropriately in any prosecution function that
               may follow from the arrest even if automated booking processing
               is interrupted for any reason. In the case of a fully automated
               booking process, additional digital photographs will be taken at the
               processing sites.
            • The PD 759 is completed and the corresponding Field Arrest Form
               number is written on the reverse of all photos. The photos will
               then be stapled to the Field Arrest Form and turned over to the site
               supervisor. Fully automated Field Arrest Forms will have a digital
               photo.
            • A van sheet is completed for each arrest location and forwarded to
               the processing site with the transportation vehicle.
            • The transportation supervisor will direct arrested persons to the
               processing sites according to the pre-set priorities designated for
               both felonies/U.S. Cases and Office of the Attorney General
               charges.
            • When all arrestees have boarded the transport vehicle, are safely
               seated and the transport vehicle has commenced its travel from the


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                        arrest location to the prisoner processing center, a member of the
                        department is to read or play a recording of the text of the
                        “Notification of Rights” form in a manner audible to all persons in
                        the vehicle. Once at the prisoner processing center, each arrestee
                        shall be provided a copy of the form to read. In addition, the text
                        of the form is to be reflected on large signs that are to be placed
                        conspicuously throughout the processing area.
                    •   Additionally, notice shall be offered in other languages as is
                        reasonable to ensure meaningful access to the notice for persons
                        who are limited English proficient.

PROCESSING OF PRISONERS

The MPD shall, as expeditiously as possible, process any person arrested in a Mass
Arrest to determine whether the person is eligible for release pursuant to a lawful release
option and shall promptly release any person so eligible who opts for the release. The
MPD shall also promptly release any person arrested in a Mass Arrest, who, it is
subsequently determined, should not be charged with any offense.

No routine computer upgrades are to be scheduled for or performed on days on
which mass arrest prisoner processing is ongoing or anticipated. Where
automated prisoner processing cannot be accomplished without performance of
repairs or a remedial upgrade, the Prisoner Processing Center(s) shall switch to
manual backup processing procedures to accomplish prisoner processing.

Manual backup procedures for processing arrestees shall be available on days for
which a plan for processing persons arrested in a mass arrest is in effect. The
Prisoner Control Center shall switch to manual backup processing procedures not later
than fifteen (15) minutes after an information system goes off-line, irrespective of any
time estimate for restoration of the information system.

       A.      Processing Procedures:
               1. Escort Positions – Members assigned to escort positions shall:
                     • Remove arrestees from the transport vehicles, upon their
                         arrival at the processing sites.
                     • Thoroughly search each prisoner for weapons and contraband
                         prior to entering the processing facility.
                     • Upon completion of stations one through four, escort prisoners
                         to the appropriate detention area and turn them over to
                         personnel assigned to jailer positions.

               2.       Login Station – Members assigned to the Login Station shall:
                        • Write each prisoner’s name, PD 759 number, charge, race,
                           gender and location of arrest into the manual intake log.



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               •   Complete an Arrestee Information Form for each prisoner.
                   Members completing the form shall insure that each section is
                   completed.
               •   Check each PD 759 for completeness, accuracy and legibility.
               •   After completion, the PD 759, the Arrestee Information Form
                   and a Polaroid photograph shall be attached together to create
                   an Arrestee Data Package.
               •   Forward the package to the Data Entry Station.

         3.    Photograph Station – Members assigned to the Photograph
               Position shall:
               • During automated processing, follow instructions on digital
                  camera operation:

               STEP # 1 COMPUTER:
               Click on the ICON Canon Zoom Browser…

               Next Window:
               Click on EDIT. On the drop down menu, click on Remote
               Capture.

               Next Window:
               Shows CONNECT TO CAMERA

               STEP # 2 CAMERA:
               Turn on the camera

               STEP # 3 COMPUTER:
               A window will appear titled PowerShot A10 event. Click on OK.

               Next Window:
               Click on Cancel.

               CONNECT TO CAMERA Window will appear again, click on

                         CONNECT.
               A window SAVE REMOTECAPTURE will appear with another
               window SHOOTING REMOTECAPTURE over top of it.
               Minimize the window SAVE REMOTECAPTURE.

               STEP # 4

               HAVE PRISONER AND OFFICER STAND IN THE
               DESIGNATED AREA.

               COMPUTER & CAMERA:

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                Click on TEST RELEASE. You will see what your picture will
                look like.
                If you need a close-up picture, click on the ZOOM lever and move
                it upward to the desired position. Click on TEST RELEASE
                again. THIS IS NOT THE FINAL PHOTOGRAPH. This is
                just to see if this is the photo you want. The final photo will be
                taken when you click on the RELEASE box in the lower right
                hand corner of the window. When the photo is taken a flash will
                occur for the TEST RELEASE and the final RELEASE.

                STEP # 5

                COMPUTER: After the final release photo is taken it will
                appear in the MASS PHOTO ARREST LIBRARY. Double click
                on the photo it will be enlarged. Click on SAVE AS at the bottom
                of the photo. A window will appear in the upper left hand corner,
                click on the triangle in the window marked with the current date.
                On the drop down menu, click Mass_01. In the next window click
                on the file labeled Mass Arrest. In the next window click on the
                file labeled Mass Arrest Photo. In the next window where it says
                file name, you will type in the Field Arrest Form number (6 digit
                number), then click on SAVE. Close the top windows until you
                see the window Shooting Remote Capture and repeat the process
                again for the next prisoner.

                NOTE: If there is a lull to the point where the camera
                automatically disconnects, you must close all the windows and
                start again with the CANON ZOOMBROWS… to reconnect
                the camera following the same procedures as above.

                •   Take three (3) Polaroid or one (1) digital photo(s) of each
                    arrestee with the arresting officer.
                •   Securely attach the Polaroid photograph(s) to the PD 759 and
                    Intake sheet.

      6. CJIS Intake Station – Members assigned to the CJIS Intake Position
         shall:
                • Interview each prisoner to obtain the information required for
                   processing and list the names in the Prisoner Control CJIS
                   Intake Terminal. Do not question the prisoner about his or
                   her actions related to the arrest.

      7. Property Station – Members assigned to the Property Station shall:
               • Take all prisoners’ property, including money, belts and
                   shoestrings. Place property in a PD 14 (Property Envelope)


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                  and record it in the PD 82 (Property Book). Give the arrestee a
                  PD 58 (Property Receipt). The following exceptions shall
                  apply:
                   i. Prisoners electing to forfeit collateral or pay a bond shall be
                      allowed to keep money and a photo ID.
                  ii. Prisoners wishing to be interviewed for citation release
                      shall be allowed to keep a photo ID.
                • Property belonging to persons released at processing sites (i.e.,
                  Elect to Forfeit or Citation Release) will be returned to them
                  upon their release.
                • Require prisoners to inspect the property and sign the property
                  book, indicating receipt (returning) of their property.
                • Property belonging to persons requiring court presentment will
                  be housed at the Evidence Control Branch. Property will be
                  separated into three categories, depending on the arrestee’s
                  intended disposition:
                      Elect to Forfeit - arrestee is paying a fine
                      Citation Release - arrestee is being released and will
                      attend court on a predetermined date
                      Court Presentment - arrestee is being held in custody and
                      will be presented on the next date court is in session

                        UPON COMPLETION OF STATIONS ONE THROUGH
                        FOUR, ARRESTEES WILL BE ESCORTED TO THE
                        APPRORIATE DENTENTION AREA AND TURNED
                        OVER TO MEMBERS ASSIGNED TO THE JAILER
                        POSITIONS

      8. Data Entry Station (Automated Processing Only) – Members assigned
         to the Date Entry Station shall:
                 • Receive an arrestee data package from the Intake Section for
                    each arrestee. The package shall contain (1) copy of the
                    Arrestee Information Form, at least (1) Polaroid Photograph
                    and (1) PD 759.
                 • Enter all data from the information form into the computerized
                    format. Members assigned to the Data Entry Section shall
                    insure that each section of the electronic form is completed.
                 • Forward the entire arrestee data package to the CJIS Booking
                    Station.

      9. CJIS Booking Station – Members assigned to the CJIS Booking Station
         shall:
                • Receive an arrestee data package from the Data Entry Station.




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               •   Complete a manual booking sheet for each prisoner and enter
                   the information into the Mass Arrest Booking Program in CJIS.

               •   Initially book everyone, as a lock-up until the processing is
                   complete. A CJIS trained person will then update the
                   dispositions.
               •   After the defendant is processed and released, update the
                   defendant’s disposition into CJIS utilizing the completed arrest
                   paperwork.
               •   Go into disposition update and enter “F” for forfeit collateral,
                   “C” for citation release and or “B” for bond.
               •   For Forfeiting Collateral, enter the charge amount into the
                   appropriate space along with the collateral receipt number and
                   the district number. For mass arrests, the district will be
                   number 8. If a date appears in the court date field, you must
                   delete it.
               •   For Citation to Appear, call Pre-Trial Services via telephone on
                   (202) 585-7030. Pre-Trial Services updates the citation to
                   appear cases only. If this information is not given to Pre-Trial
                   Services, then the CJIS system and paperwork will not match.
                   As a result, defendants will be placed on the lock-up list when
                   they should not be; this will cause a mix-up. It is imperative
                   that the system and paperwork match. They will require the
                   following information:
                       1. Defendant’s name;
                       2. Date of birth;
                       3. Arrest number; and
                       4. Citation date given to defendant.
               •   For bond cases, enter the charge amount into the appropriate
                   space along with the collateral receipt number and the district
                   number. For mass arrests, the district will be number 8. The
                   court date must be filled in. When issuing a bond date, the
                   defendant is given the next available court date. Court is in
                   session for bond cases Tuesday thru Friday.
               •   Any additional information that a CJIS user needs can be
                   obtained from the CJIS Mass Arrest Booking Procedures
                   Manual.
               •   Forward the Arrestee Data Package to the WALES/NCIC
                   Station.

         CJIS Fall Back Procedures (when CJIS is down) - When CJIS is down,
         members assigned to the CJIS Station shall:
               • Obtain the last arrest number utilized from the Special
                   Operations Division.



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                 •   Utilize the Arrest Number Control Log maintained at each
                     processing site.
                 •   Enter the date, time and system arrest number obtained from
                     SOD in the corresponding spaces located on the control log.
                 •   For each arrest, enter the next sequential arrest number and the
                     arrestee’s name in the spaces provided. Any additional
                     information shall be entered in the comments section on the
                     form.
                 •   During the time that CJIS is down, a photocopy of the PD 759
                     completed for each arrest shall be made and retained with the
                     log. When CJIS returns to service, these copies will be used to
                     enter the arrest data for all arrest numbers issued during the
                     time the system was down. Once the arrest has been entered
                     into CJIS, the copy of the PD 759 should be retained in a file
                     for thirty days.

      10. WALES/NCIC Checks Station – Members assigned to the
          WALES/NCIC Station shall:
              • Receive an Arrestee Data Package from the CJIS Station.
              • Complete a WALES/NCIC check for all prisoners processed at
                 the mass arrest processing sites.
              • Forward the Arrestee Data Package to the Master Control
                 Station.

      11. Master Control Station– In Automated Processing, Members assigned
          to the Master Control Station shall:
                  • Receive an Arrestee Data Package on each arrestee from the
                     WALES/NCIC Station.
                  • Write the narrative of the computer generated PD 759.
                  • Add the arrest number from CJIS.
                  • Insure that a WALES/NCIC check has been performed.
                  • Coordinate the printing of the computer generated PD 759,
                     Digital Photograph and Citation Paperwork.
                  • Forward all completed paperwork to a member at the Jailer
                     positions.

      12. Fingerprint Station – Members assigned to the Fingerprint Station shall:
                • Insure that all prisoners have their thumbprint imprinted on the
                    Field Arrest Form, Citation Release Forms and the PD 163
                    when required.
                • A full set of prints will be obtained only from all prisoners
                    without valid identification, for all felonies, and for U. S. or
                    Office of the Attorney General charges requiring the arrested
                    person to appear before the Court.



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       B.      Detention of Prisoners:

In processing sites containing cells prisoners will be detained in the cells separated by
gender. If a sufficient number of cells exist, prisoners will also be separated by the listed
categories.

The use of unsecured processing sites shall be avoided unless exigent circumstances
exist. All available holding cells at mass processing sites shall be filled to capacity prior
to moving prisoners to an unsecured facility. If unsecured processing sites (not
containing cells) must be used, the following procedures shall be followed:

                       a) Jailer Position- Members assigned to the Jailer Position shall:
                               • Separate prisoners into appropriate categories:
                                       Elect to Forfeit
                                       Citation Release
                                       Court Presentment
                               • Insure that all arrestees are placed in the appropriate
                                  holding facility (area), pending release or transportation
                                  to court.
                               • Only non-violent cooperative prisoners shall be housed
                                  in open areas without cells.
                               • At the Metropolitan Police Academy, classrooms may
                                  be used provided that the windows are secured and a
                                  minimum of (2) police officers are posted both at the
                                  door of the room and outside of the building at a point
                                  where windows can be monitored.
                               • The classrooms shall be free of all furniture and mats
                                  shall be placed on the floor.
                               • Attempt to make the arrestee as comfortable as
                                  possible, but insure that adequate security measures are
                                  utilized.
                               • Maintain constant visual contact with all prisoners
                                  during times of their incarceration.
                               • Coordinate the release of citation and elect to forfeit
                                  cases with members assigned to the escort positions.

       C.      Release of Prisoners:

               Prisoners with valid (photo) identification that meet the established
               criteria will be eligible for citation release. Those with valid (photo)
               identification who elect to forfeit collateral will be released after
               processing. Prisoners without valid (photo) identification, those not
               eligible for citation release or unable/unwilling to pay a fine and elect to
               forfeit will have their paperwork processed through AFIS and will be



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         transported to the Marshal’s Cellblock (either Superior Court or U.S.
         District Court) for arraignment.

         An official shall document and explain in writing any instance in which a
         person arrested in connection with a First Amendment assembly who opts
         for release pursuant to a lawful release option or who is not charged with
         any offense is not released within four (4) hours from the time of arrest.

         1.     Citation Release Station - Citation is given to defendants who
                elect not to spend the night in jail or pay the fine for their violation
                but must see a judge at a later date and time. There will be several
                dates provided from Pre-Trial Services. Under normal
                circumstances, there will be only twenty (20) defendants assigned
                to each available citation date. Pretrial Services may increase the
                number of defendants eligible for citations on a given date.

                Members assigned to the Citation Release Station shall:

                •   Complete form CD-2063 “Citation to Appear in Court.” The
                    citation form is to be completed in the following manner:
                •   Arrest Book No.: Write the arrest number clearly.
                •   PDID No. or DOB: Write the date of birth.
                •   Officer, Badge, Unit: Write the arresting officer’s name, badge
                    number and unit of assignment.
                •   To: Write the defendant’s name, make sure that the first, middle
                    and last name appears this way.
                •   The charge line: Write the charge/charges on this line. If there is a
                    NOI issued, place the NOI number on the line also.
                •   Date: Place the defendant’s court date on the line indicated.
                •   Mark Box: The first box should be marked to indicate the time
                    and location for which the defendant is to appear in court.
                •   Signature: The defendant must sign and date the form where
                    indicated. If the defendant refuses to sign the citation form,
                    they will be denied participation in the citation program. (This
                    is to be explained to the defendant.)
                •   Have an assigned station clerk, or member the rank of
                    lieutenant or above, sign his or her name and place his or her
                    badge number and unit assigned where indicated.

                Explain the following requirements of the program to the
         defendant:

                    •   Citation is given to a defendant who qualifies.
                    •   It is a promise to appear in court at a later date and
                        time.


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                  •   When a defendant does not appear in court as promised
                      a warrant will be issued for his or her arrest.
                  •   It is important to be on time, because failure to appear
                      on time could also result in a warrant being issued for
                      his/her arrest.
                  •   After the defendant is thumb printed, the defendant is
                      issued the pink copy of the citation form and released.

         2.    Elect to Forfeit Collateral Station – Defendants charged with
               offenses that can be adjudicated through the payment of a fine may
               elect to forfeit collateral in lieu of requesting citation release or a
               court date. Members assigned to the collateral station shall:
               • Verify that the offense with which the defendant is charged is a
                   collateral/bond offense.
               • Consult a current collateral list to ascertain the correct amount
                   for the charge.
               Complete a PD 67 (Collateral Receipt) in the following manner:
               • District – is where the money was collected.
               • Date – the date money was collected.
               • Time posted – the time you collected the money always use
                   regular time not military time.
               • Name – Write last name first, then first, middle.
               • Address – Write address for prisoner.
               • Amount posted – amount of money received for the charge.
               • Charge – the offense with which the prisoner was charged.
               • Permit # - NOT NEEDED.
               • License # - NOT NEEDED.
               • Case # - insert the arrest number.
               • Officer – insert the arresting officer’s name.
               • District – insert the officer’s district where he/she is assigned.
               • Book or Ticket # - insert the NOI # if applicable.
               • You always want to check forfeit collateral because that is
                   what they are doing electing to forfeit and not stand trial.
               • Date & Time – NOT NEEDED for electing to forfeit.
               • Deposited by – name of person paying prisoner’s fine. (i.e.,
                   self, if prisoner paid own fine; Mary Jane – if Mary Jane paid
                   prisoner out)
               • Station Clerk – name of person collecting money. If signature
                   is not readable PLEASE PRINT.

               ALL WRITEN RECEIPTS MUST BE LEGIBLE.

         3.    Bond Cases– (Bond must be written BOLDLY across the top of
               collateral receipt). Defendants charged with offenses that can be
               adjudicated through the payment of a fine may elect to pay a bond

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               and appear in court on a specified date. Prisoners that do not wish
               to forfeit collateral, and do not wish to remain in custody while
               waiting their court date may pay a bond.

               For bond cases all steps are the same except:

               •   You would NOT check the elect to forfeit collateral box.
                   Instead you would check the “Stand Trial” box. This is
                   because the prisoner wishes to appear in front of a judge. The
                   prisoner is paying money NOT to spend the night or weekend
                   in jail.
               •   Advise the prisoner that he/she is to appear in court on the next
                   court scheduled bond date.
               •   Advise the prisoner that court is scheduled for bond cases
                   Tuesdays through Fridays. (i.e., if the prisoner is arrested on a
                   Saturday, he/she is to appear in court on Tuesday. If the
                   prisoner is arrested on Wednesday, he/she is to appear in court
                   on Thursday. If the prisoner is arrested on Friday, he/she is to
                   appear in court on Tuesday).
               •   The date and time of the prisoner’s court appearance is placed
                   in “Date and Time” section.
               •   The time is always 9:00 a.m.

         4.    Issuance of Collateral Receipts –Separate receipts shall be
               written for each charge placed against a prisoner (i.e., charges of
               FTO, Crossing a police line and Incommoding, would require the
               issuance of three collateral receipts). This still applies when one
               prisoner is electing to forfeit collateral for another prisoner.
               Receipts shall be disseminated as follows:

               •   The top/original copy goes to the prisoner.
               •   The second copy goes with the paper work.
               •   The pink copy is for the records for audit purposes.

         5.    Notices of Infractions (NOI): When a NOI is issued for a
               particular charge and the prisoner is paying out/electing to forfeit:

               •   Copy A (original copy) is stapled to the second copy of the
                   collateral receipt, which goes with the paperwork.
               •   Copy B of the NOI is for the officer’s record. It should stay
                   with the arresting officer.
               •   Copy C (pink copy) should go to the prisoner along with the
                   prisoner’s copy (copy A) of the collateral receipt.
               •   The members receiving the elect to forfeit collateral payment
                   must write E/F on the front of the NOI.


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         6.     BOND NOIs:
                • Copy A (original copy) of NOI goes with arresting officer for
                  papering.
                • Copy B is attached to the paper work.
                • Copy C (officer’s copy) stays with officer for his records.
                • THE PRISONER DOES NOT GET A COPY OF THE NOI IN
                  BOND CASES.

         The Commanding Officer of Prisoner Control shall put procedures in
         place to assure persons possessing photo identification, collateral or elect
         to forfeit funds for another, are permitted to provide these items to MPD
         personnel to facilitate the release of an arrestee

   D.    Arrest Paperwork: Arrest paperwork at all sites will include:

                •   PD 759 Field Arrest Form (manual or automated)
                •   PD 163 Prosecution Report (reverse side only)
                •   Polaroid/digital picture of arrestee with arresting officer
                •   Prisoner’s Van Sheet
                •   CD 2063 Citation to Appear
                •   A generic statement of facts for the PD 759 will be generated
                    for multiple arrests with the same charges, at the same location,
                    and be used for all arrestees.
                •   A separate PD 163 will be required for individual criminal acts
                    that are felonies such as APO, destruction of property, and
                    USAO misdemeanor charges.
                •   Property envelope and receipt
                •   Fingerprint cards
                •   PD 313 for Injured Prisoners

         1.     Arrest Packets - Each arrest packet shall contain the following:

                •   Original PD 759 (Field Arrest Form) completed by the
                    arresting officer on the scene of arrest
                •   Two (2) Copies of the Automated PD 759 with digital
                    photograph, printed by the master controller
                •   Two (2) Photocopies of the PD 759
                •   Citation release forms, if applicable
                •   Collateral receipt in elect to forfeit and bond cases.
                •   One (1) Polaroid photograph, (3) photographs under manual
                    processing
                •   NOI, if applicable
                •   Copy of PD 9 (Fingerprint Card), if applicable


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         2.     Paperwork Disposition - Arrest packets shall be disseminated in
                the following manner:

                •   The originals plus one (1) Xerox copy is packaged for court
                    liaison.
                •   One color copy is packaged for the U.S. Marshal’s Cellblock.
                •   One color copy should be packaged for Records Division.
                •   One copy of all paperwork is to be packaged for Prisoner
                    Control files.

         3.     PD Form 237-c Transmittal – A PD 237-c shall be completed for
                each group of arrest packets leaving the processing center. For
                each disposition there must be a separate transmittal. At the top of
                each form you must indicate the disposition (i.e., elect to forfeit,
                citation, lockup or bond). A completed PD 237-c shall be attached
                to arrest packets and forwarded as follows:

                •   Original court (lockup) case paperwork to Court Liaison
                    Division
                •   Original bond case paperwork with a copy of the collateral
                    receipt to Court Liaison Division
                •   Original elect to forfeit case paperwork with a copy of the
                    collateral receipt to Court Liaison Division
                •   Original Citation case paperwork to Court Liaison Division
                •   Copy of all dispositions case paperwork to Records Division.

         4.     Van Sheet - For all lock up cases, the defendant is placed on a van
                sheet and time stamped. Then the defendant is transported to the
                cellblock along with his/her paperwork for further processing.

    E.   Feeding of Prisoners:

         The feeding of prisoners during major events requires a contractual
         agreement between MPD and a vendor selected by the Department’s
         Office of Procurement. A Purchase Notification (3-and-1 Form) must be
         completed and submitted through Special Services Command to the
         Finance and Budget Office.

         The feeding of prisoners during minor events (where the limited number
         of participants dictates that it would not be reasonable to prepare for Mass
         Arrest processing) shall be coordinated with the Adult Processing Unit,
         Office of Corporate Support.

   F.    Transportation to Court:



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         Prisoners being sent to the U.S. Marshal’s Cellblock (for arraignment) will
         be sent in groups with consideration given to:

                1.      Same arresting officer;
                2.      Similar charges, (All U. S. or all Office of the Attorney
                        General); and
                3.      A van sheet must be generated and transported with each
                        group of prisoners to the block.

   G.    Technical Support:

         The Office of the Chief Information Officer shall provide the Prisoner
         Control Center with on-site technical support staff during each activation
         to troubleshoot and minimize unanticipated information/computer systems
         downtime that would delay prisoner processing.

         Contacts: Program Manager-Information Technology, phone: (202) 727-
         7332 or the Technical Assistant, phone: (202) 727-4670.

         The Records Department, Manager (202-727-2228) or the CJIS
         Coordinator (202-727-8583) should be notified prior to Mass Arrest
         demonstrations to ensure that the CJIS Mass Arrest User ID’s have been
         re-set and are ready for use.

   H.    Monitoring:

         The Civil Rights and Force Investigations Section, Office of Professional
         Responsibility, shall periodically monitor all prisoner-processing facilities
         to ensure that prisoners are being processed, restrained and transported
         consistent with law and Department policy.

   I.    Uniform and Equipment:

         Prisoner control personnel will wear the Class B uniform. Utilities and
         jumpsuits are not authorized. Recruit and/or Lateral Entry officers will
         wear their issued uniforms.
         1. All processing personnel will be equipped with all issued CDU
             protective gear and chemical protective gear.
         2. Transportation vehicles will be equipped with field processing kits and
             cameras and will assist Special Operations Division and Civil
             Disturbance Unit arrest teams related to the event.

   J.    Communications:

         1. The processing centers, all transportation supervisors and vehicles will
            monitor the radio channel designated by Special Operations Division
            for exclusive operations for the event.

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     K.    Arrest:

           1. All arrests associated with mass demonstrations, except for serious
              felonies (i.e., shootings, stabbings, robberies, etc), will be processed at
              the prisoner processing centers.
           2. All eligible prisoners that possess valid identification and wish to post
              collateral will be thumb-printed and released from the processing site.
           3. All prisoners arrested for Office of the Attorney General charges that
              possess valid identification and meet the qualifications for Citation
              Release will be thumb-printed and released from the processing site.
           4. A full set of fingerprints will be obtained from all other arrestees
              associated with the demonstration.


     L.    Injured Prisoners:


           1.   Prisoner control transportation personnel will take custody of injured
                prisoners and arrange for transportation and security during treatment.
           2.   Prisoner control personnel will accompany the arrestee to the hospital
                and stay with him/her until treated and then transported to Prisoner
                Control for processing.
           3.   Serious injuries noted on the scene of the arrest will be taken directly
                to the nearest hospital.
           4.   On-site medical personnel will initially evaluate injuries noted at the
                processing centers.

III. PRISONER PROCESSING/HOLDING SITES:


     A.    The following locations may be considered when determining processing
           sites:

                1. The Metropolitan Police Academy (Gymnasium) – located at
                   4665 Blue Plains Drive S.W. This facility can be used to process
                   and house cooperating demonstrators, persons charged with mass
                   arrest offenses, who are eligible for Citation Release, or those who
                   pay a fine and elect to forfeit. This facility will have the maximum
                   capacity to house four hundred (400) cooperating demonstrators.

                2. Cell Block “B” – located at Fourth and F Streets N.W., in the
                   basement of the old Superior Court building. This facility can be
                   utilized to process and house both cooperative and
                   uncooperative/violent demonstrators. This facility will have the
                   maximum capacity to house four hundred (400) prisoners. Note:


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                       A letter to the Chief Judge of the D.C. Superior Court is required
                       to obtain permission to utilize this facility.

                  3. Central Cellblock – located in the basement of 300 Indiana Ave.,
                     N.W. This facility can be utilized to process and house both
                     cooperative and uncooperative/violent prisoners. This facility will
                     have the capacity to house one hundred forty (140) prisoners.

                  4. 501 New York Avenue, Northwest - This facility can be used to
                     process and house uncooperative and violent demonstrators. This
                     facility has the capacity to house 32 prisoners.

                  5. First District- located at 101 M Street, S.W. The Commanding
                     Officer of Youth Investigations Branch will make arrangements to
                     process JUVENILES at the First District during the duration of the
                     detail. The First District Cell Block can house up to thirty (30)
                     juveniles. It is anticipated that most, if not all, juveniles will be
                     handled as contacts and released to a parent, guardian, or other
                     responsible adult.

                  6.   RFK STADIUM - located at 2400 East Capital Street, Southeast.
                       The Band and Cheerleader rooms can be utilized for the housing of
                       non-violent cooperative prisoners. This facility will have the
                       capacity to house three hundred (300) prisoners. Note: A letter to
                       the Stadium Manager, DC Sports and Entertainment Commission
                       is required to obtain permission to utilize this facility.

       B.     The CJIS Coordinator must be contacted to ensure that CJIS User ID’s are
              available for multiple or concurrent sites.

It should be noted that when Prisoner Control has been activated for an event, there
are a number of factors that determine the number of personnel that would need to be
assigned for such an operation. These factors are:

   •   The number of potential arrests that could be made.
   •   The number of prisoner processing sites.
   •   The number of hours, or tours of duty that would be required.

The types of duties of the personnel at each prisoner processing site would be the
following:

   •   Prisoner Processing (arrest paperwork, citation, bond, etc.)
   •   Property officers
   •   Fingerprinting officers
   •   Jailers
   •   Escorts


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•   WALES/NCIC/CJIS certified users
•   Transportation officers (These members would not be needed at each site,
    but would be transporting arrested subjects to each site.)




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                     APPENDIX I

           ENUMERATED LEGAL
               CHARGES




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     CRIMINAL CHARGES FOR PROTESTS AND/CIVIL DISTURBANCES

Below we have set forth the criminal charges, which are most likely to arise as a result of
the expected protests in connection with the IMF/WB demonstrations. We have not
attempted to discuss the charges in detail, nor have we attempted to provide a
comprehensive list of all available charges. Instead, we have focused on the charges
which are most likely to give rise to arrests, with a list of the applicable elements of the
offense and a very brief discussion of circumstances in which the charge might be most
appropriate. Officers on the street are encouraged to contact the U.S. Attorney’s Office
or the Office of the Attorney General should questions arise concerning the statute most
applicable to a given situation.

Members of the Metropolitan Police Department are reminded that the charge of
“Parading without a Permit” is not an arrestable offense and this charge shall not be used
to detain anyone.
                       STREET PROTESTS AND DISTURBANCES

CHARGE: Disorderly Conduct, 22 D.C. Code § 1121
ELEMENTS OF THE CHARGE: (1) defendant acts in a manner such as to annoy,
disturb, interfere with, offend others; or (2) congregates with others on a public street and
refuses to move when ordered to do so by the police; or (3) shouts or makes noise outside
or inside a building, during the night, to the annoyance or disturbance of a considerable
number of persons; or (4) interferes with any person in any place by jostling against the
person or unnecessarily crowding the person, or by placing a hand in the proximity of
such person’s handbag or purse; or (5) causes a disturbance in any public transportation
conveyance, by running through it, climbing through windows or on top of seats, or
otherwise annoying passengers or employees.
JURISDICTION: Office of the Attorney General
APPLICABILITY: Someone is on a metro train, bus, or in a public street being
unusually noisy (remember, this is a demonstration) or troublesome, and has been
ordered specifically, and more than once, by police to move on, and refuses to do so.
This offense generally applies to a breach of peace.

CHARGE: Unlawful Assembly, 22 D.C. Code § 1107
ELEMENTS OF THE CHARGE: (1) person(s) may not congregate and assemble in
any street, road, highway, in and around any public building or enclosure, or any park, or
at the entrance to a private building or enclosure; and (2) engage in loud and boisterous
talking or other disorderly conduct, or to insult or make rude or obscene gestures or
comments to persons passing by, or in their hearing; or (3) to crowd, obstruct, or
incommode the free use of any street, road, highway, or the free entrance to any private
or public building or enclosure.
JURISDICTION: Office of the Attorney General
APPLICABILITY: Someone is in an area outside the area of the granted permit, and
after being warned more than once to move on, continues to block traffic on a city

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street. This is likely to be the most appropriate charge for “street blockades” by
protesters.

CHARGE: Crossing a police line, 21 DCMR 2100.1-.5
ELEMENTS OF THE CHARGE: (1) in case of a fire, parade, explosion, or other
occasion that causes people to collect on the public streets, highways, etc.; (2) a police
officer establishes an area or zone considered necessary to afford a clearing for (a) the
operation of firemen or policemen; (b) the passage of a parade; (c) the movement of
traffic; (d) the exclusion of the public from the vicinity of a riot, disorderly gathering,
accident, explosion, or other emergency; or (e) the protection of persons and property; (3)
and suspect fails to comply with any necessary order or instruction of officer; or (4)
enters the emergency zone or area.
JURISDICTION: Office of the Attorney General
APPLICABILITY: Law enforcement sets up a barricade, a secured area, or attempts to
prevent pedestrians from entering a particular area by setting up a police line, and
someone crosses the police line or enters the secured area. Prior to arrest, a warning
should be given that the person has entered a secured area or has crossed a police line,
and they should be given an opportunity to move back. This offense generally also
applies to a breach of peace.

CHARGE: Failing to obey a police order, 21 DCMR 2100.1-.5
ELEMENTS OF THE CHARGE: (1) see above
JURISDICTION: Office of the Attorney General
APPLICABILITY: A police officer gives a command to an individual as relates to a
traffic matter, and someone willfully fails to obey the order.

CHARGE: Wearing Hoods or Masks, 22 D.C. Code § 3112.3 (misdemeanor)
ELEMENTS OF THE CHARGE: (1) No person over 16 years of age may wear a
mask/hood/any device causing any portion of the face to be hidden, concealed or covered
as to conceal the identity of the wearer; and (2) enter upon or within public property of
the District of Columbia, or any street, road, alley, etc., in the District of Columbia; or
hold any manner of meeting or demonstration; and (3) it can be established that the
person was wearing the hood, mask, or other device with the intent (a) to deprive any
person of equal protection of the law; or (b) to, by force or threat of force, to injure,
intimidate, or interfere with any person because of his exercise of any right secured by
federal or District of Columbia laws, or to intimidate any person from exercising any
right secured by federal or District of Columbia laws; or (c) to intimidate, threaten, abuse
or harass any other person; or (d) to cause another person to fear for his personal safety,
or where it is probable that reasonable persons will be put in fear for their personal safety
by defendant’s actions, with reckless disregard for that probability; or (e) while the
wearer was engaged in conduct prohibited by civil or criminal law, with the intent of
avoiding identification.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Merely wearing a mask or hood is not improper or illegal, and one
cannot
be stopped/arrested/charged for wearing a hood or mask. Only if it can be demonstrated

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that the person wearing the mask did so with the intent to intimidate, threaten, interfere
with or deprive another person of his/her rights under the law, can/should action be taken
on the part of the police.

CHARGE: Throwing stones or other missiles, 22 D.C. Code § 1109
ELEMENTS OF THE CHARGE: (1) no person(s) may throw a stone or other missile
in any street, avenue, alley, road, or highway, or open space, or public square, or
enclosure, or to throw such stone/missile from any place onto a street, avenue, etc.
JURISDICTION: Office of the Attorney General
APPLICABILITY: Someone endangers another’s safety by throwing projectiles.

CHARGE: Kindling Bonfires, 22 D.C. Code § 1113
ELEMENTS OF THE CHARGE: (1) defendant sets on fire (or causes it to be done);
(2) in any street, highway, alley, open ground, or lot; (3) any combustible; (4) after
sundown and before sunrise.
JURISDICTION: Office of the Attorney General
APPLICABILITY: Someone sets anything afire in a city street or area during the
nighttime.

CHARGE: Manufacture, transfer, use, possession, or transportation of
Molotov cocktails, or other explosives for unlawful purposes, 22 D.C. Code § 3215a
(felony)
ELEMENTS OF THE CHARGE: (1) no person shall manufacture, transfer,
use, possess, or transport a Molotov cocktail ("Molotov cocktail" means: (1)
a breakable container containing flammable
liquid and having a wick or a similar device capable of being ignited), or
any other device designed to explode or produce uncontained combustion; or
(2) manufacture, transfer, use, possess, or transport any In cases of mass seizures of
property or evidence, every attempt shall be made to document the seizure and
preparation of said items via videotape or photographs. This documentation will
strengthen the Department’s position as to the treatment of these items to reduce the
likelihood of frivolous claims of damage
device, instrument, or object designed to explode or produce uncontained
combustion, with the intent that the same may be used unlawfully against any
person or property.

JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Someone transports or possesses an explosive device intending to
use the device unlawfully against a person or property.

CHARGE: Rioting, 22 D.C. Code § 1122 (b) (misdemeanor) (felony if any person
suffers serious bodily damage, or property damage exceeds $5,000.)
ELEMENTS OF THE CHARGE: (1) there was a public disturbance in Wash., D.C.
which, by tumultuous and violent conduct, or the threat of such conduct, created grave
danger of damage or injury to property or persons; and (2) there was a group of 5 or more
persons, including defendant, engaged in the public disturbance; and (3) defendant and at

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least 4 other members of the group willfully engaged in the public disturbance on
purpose.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: A “public disturbance” must be more than mere loud noise making
or minor breaches of the peace. It is conduct that has aroused, or is likely to arouse,
public alarm or apprehension, and is usually accompanied by the use of actual force or
violence against property and persons. At the very least it must be conduct that has a
clear and apparent tendency to cause force or violence to erupt and thus create a grave
danger of damage or injury to property or persons. “Grave danger” means danger
actually present or threatened. Damage or injury to property includes actual physical
damage, or the taking of another’s property without permission.

CHARGE: Rioting, 18 U.S.C. § 2101
ELEMENTS OF THE CHARGE: (1) person travels in interstate or uses any facility of
interstate commerce, including, but not limited to, the mail, telegraph, telephone, radio,
or television, and intends; (2) to incite a riot; or (3) to organize, promote, encourage,
participate in, or carry on a riot; or (4) to commit any act of violence in furtherance of a
riot; or
(5) to aid or abet any person in inciting or participating in or carrying on a riot or
committing any act of violence in furtherance of a riot.
JURISDICTION: United States Attorney’s Office: Transnational and Major Crimes
Section
APPLICABILITY: Extremely unlikely that this federal charge will be used, unless we
can establish that suspect(s) crossed state lines intending to incite an actual riot. Merely
crossing state lines/using any facility of interstate commerce in order to organize a
demonstration is insufficient to pursue this charge.

CHARGE: Threats, 22 D.C. Code § 504 (misdemeanor)
ELEMENTS OF THE CHARGE: (1) Defendant uttered words heard by another
person; (2) the words were such as to convey to the ordinary hearer a menace or fear of
serious bodily injury or harm; and (3) defendant intended to utter the words as a threat.
(Note that it is not necessary that he intended to carry out the threat, or that the intended
victim actually heard the threat.)
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Where someone threatens another, and the threat not only was
intended to threaten and frighten another that he/she was in danger of serious bodily
injury or harm, but the ordinary hearer would feel so frightened, then the suspect may
be charged with threats. Without more intimidating or threatening behavior, the case
will be treated as a misdemeanor.

CHARGE: Obstructing public highway, 22 D.C. Code § 3121
ELEMENTS OF THE CHARGE: (1) person may not obstruct the free use of any
public highway
JURISDICTION: Office of the Attorney General
APPLICABILITY: Person may not interrupt the flow of traffic on any highway.


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CHARGE: Obstructing bridges connecting D.C. and VA, 22 D.C. Code § 1123
ELEMENTS OF THE CHARGE: (1) person may not
knowingly and willfully obstruct any
bridge connecting the District of Columbia and the Commonwealth of Virginia.
JURISDICTION: Office of the Attorney General
APPLICABILITY: Person may not interrupt the flow of traffic on any bridge
connecting D.C. and Virginia.


                                 PROPERTY DAMAGE

CHARGE: Destruction of Property, 22 D.C. Code § 403 (misdemeanor or felony)
ELEMENTS OF THE CHARGE: (1) defendant injured or destroyed, or attempted to
injure or destroy, property; (2) the property was not the defendant’s; (3) defendant acted
on purpose; (4) defendant acted with the intent to destroy or injure the property, or with a
conscious disregard of known and substantial risks of harm that were likely to result to
the property from his actions. (Note: if the value of the damaged property exceeds $200,
the offense is a felony; under $200 is a misdemeanor.)
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Property of value belonging to another is damaged by a specific
individual. To charge a felony there must exist concrete evidence that the property
damaged had a value in excess of $200.

CHARGE: Federal Destruction of Property, 18 U.S.C. § 1361
ELEMENTS OF THE CHARGE: (1) Someone willfully injures (or attempts to injure)
or commits (or attempts to cause) any depredation against (a) any property of the United
States, or (b) of any department or agency thereof, or (c) any property which has been or
is being manufactured or constructed for the United States, or (d) any department or
agency thereof. Note: if the damage or attempted damage to such property exceeds the
sum of $1,000, the punishment is a fine or imprisonment for not more than ten years, or
both; if the damage or attempted damage to such property is under $1,000, a fine or
imprisonment for not more than one year, or both.
JURISDICTION: United States Attorney’s Office, Transnational and Major Crimes
Section
APPLICABILITY: We will use this charge rarely, and under the most serious
circumstances. Normally, Superior Court Destruction of Property charges will be most
applicable.

CHARGE: Defacing Public or Private Property, 22 D.C. Code § 3112.1
(misdemeanor)
ELEMENTS OF THE CHARGE: (1) Defendant may not disfigure, cut, chip, cover or
rub with filth or excrement; or (2) write, mark, or print obscene or indecent figures; or (3)
write, draw, mark or paint any word, sign or figure, without the consent of the owner or
proprietor (or, in the case of public property, the person having custody or control
thereof, upon: (a) any property (public or private); building, statue, monument, office,
mass transit equipment or facility, dwelling or structure of any kind; (b) doors, windows,

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steps, railings, fencing, stairs, walls, of any enclosure thereof, or any movable property.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Someone is spray-painting (or in any manner disfiguring) the
Washington Monument, a subway car, the fence surrounding the IMF building, etc., or
any other public or private property, without permission.

CHARGE: Arson, 22 D.C. Code § 401 (felony)
ELEMENTS OF THE CHARGE: (1) defendant burned or attempted to burn a
building; (2) the building was the property, in whole or in part, of someone other than
the defendant; and (3) defendant set the building on fire on purpose; and (4) defendant
acted with the intent to kill or seriously injure another person; with the intent to threaten
the security of anyone who lived in or occupied that building; or in conscious disregard
of a known and substantial risk that his actions would endanger human life or threaten
the security of anyone who lived in or occupied the building; and (5) defendant acted
without mitigation.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Suspect set fire (or attempted to set fire) to a building intending to
kill or injure someone. The charge is destruction of property if the object burned is a car,
for example, or if we do not have proof (direct or circumstantial) that the defendant’s
intent was to kill or seriously injure another person.

CHARGE: Placing explosives with intent to destroy or injure property, 22 D.C.
Code § 3105 (felony)
ELEMENTS OF THE CHARGE: (1) defendant places, or causes to be placed,
in/on/under/against/near any building/car/monument/statue/structure, any type of
explosive substance; (2) with intent to destroy or injure the same (in whole or part).
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Someone places any explosive device in a public or private area
intending to destroy property.

CHARGE: Unlawful Entry, 22 D.C. Code § 3102 (misdemeanor)
ELEMENTS OF THE CHARGE: (1) defendant entered, or attempted to enter, a public
or private dwelling, building, or other property, or part of same; (2) defendant did not
have lawful authority; (3) the entry or attempt to enter was against the will of the lawful
occupant or the person lawfully in charge of the premises; and (4) defendant’s entry or
attempt to enter was on purpose.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Someone enters the grounds of a private residence, or a restricted
public building, and refuses to leave when ordered to do so. (Remember that to have a
burglary, we must be able to prove that at the time the suspect entered the area in
question, he had formulated intent to commit a separate crime (such as assault,
destruction of property, theft)).

CHARGE: Burglary, 22 D.C. Code § 1801 (felony)
ELEMENTS OF THE CHARGE: (1st degree): (1) defendant entered a dwelling room
of another used as a sleeping compartment; (2) at the time of the entry, any person was in

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any part of that dwelling or room; and (3) at the time of the entry, defendant had the
specific intent to commit a crime (such as theft, assault, etc.) (Note: if element 3 is not
satisfied, the offense is unlawful entry.) (2nd degree): defendant entered any room,
apartment, dwelling, store, bank, or other building of another; and (2) at the time of the
entry, defendant had the specific intent to commit a crime (such as theft, assault, etc.)
(Note: if element 3 is not satisfied, the offense is unlawful entry.)
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: We must be able to demonstrate that a suspect entered the place
with the specific intent to commit a crime. Otherwise, the correct charge is unlawful
entry.

   U.S. CAPITOL, SUPREME COURT, AND FOREIGN MISSION PROTESTS

CHARGE: Unlawful conduct, 9 D.C. Code Section 112 (a) (misdemeanor)
ELEMENTS OF THE CHARGE: (1) a person or group of persons, (2) carries or has
readily accessible any firearm, dangerous weapon, explosive, or incendiary device; or (3)
discharges any firearm or explosive, uses any dangerous weapon, or ignites any
incendiary device, upon the United States Capitol Grounds or within any of the Capitol
Buildings; or (4) transports by any means upon the United States Capitol Grounds or
within any of the Capitol Buildings any explosive or incendiary device; or (5) knowingly,
with force and violence, enters or remains upon the floor of either House of the Congress.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: U.S. Capitol Police bring case in which protesters violate their
permits, or carry dangerous weapons on/in Capitol grounds/buildings.

CHARGE: Unlawful Entry, 9 D.C. Code Section 112 (b) (misdemeanor)
ELEMENTS OF THE CHARGE: (1) it is unlawful for any person or group of persons
willfully and knowingly; (2) to utter loud, threatening, or abusive language, or to engage
in any disorderly or disruptive conduct, at any place upon the United States Capitol
Grounds or within any of the Capitol Buildings; (3) with intent to impede, disrupt, or
disturb the orderly conduct of any session of the Congress or either House thereof, or the
orderly conduct within any such building of any hearing before, or any deliberations of,
any committee or subcommittee of the Congress or either House thereof; or (4) to
obstruct, or to impede passage through or within, the United States Capitol Grounds or
any of the Capitol Buildings; or (5) to engage in any act of physical violence upon the
United States Capitol Grounds or within any of the Capitol Buildings; or (6) to parade,
demonstrate, or picket within any of the Capitol Buildings.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: U.S. Capitol Police bring case in which protesters violate their
permits, and commit what amounts to an unlawful entry (or any other crime) on U.S.
Capitol Grounds.

CHARGE: Protection of foreign officials, official guests, and internationally
protected persons, 18 U.S.C. § 112 (a) (felony)
ELEMENTS OF THE CHARGE: (1) Someone assaults, strikes, wounds, imprisons, or
acts violently against; (2) a foreign official, official guest, or internationally protected

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person; or (3) makes any other violent attack upon the person or liberty of such person; or
(4) is likely to endanger his person or liberty; or (5) makes a violent attack upon his
official premises, private accommodation, or means of transportation; or (6) attempts to
do any of the foregoing.
JURISDICTION: United States Attorney’s Office, Transnational and Major Crimes
Section
APPLICABILITY: A foreign dignitary is assaulted.

CHARGE: Protection of foreign officials, official guests, and internationally
protected persons, 18 U.S.C. § 112 (b) (misdemeanor)
ELEMENTS OF THE CHARGE: (1) Someone intimidates, coerces, or harasses a
foreign official or an official guest or obstructs a foreign official in the performance of
his duties; or (2) attempts to do the foregoing; or (3) congregates with 2 or more other
persons with intent to violate any provision of this section: (a) within the United States
and within 100' of any building or premises in whole or in part owned, used, or occupied
for official business or for diplomatic, consular, or residential purposes by (1) a foreign
government, including such use as a mission to an international organization; or (2)
an international organization; or (3) a foreign official; or (4) an official guest.
JURISDICTION: United States Attorney’s Office, Transnational and Major Crimes
Section
APPLICABILITY: A foreign dignitary is threatened or harassed while performing his
or her official duties.

CHARGE: Parades or assemblages; display of flags; U.S. Capitol and grounds, 9
D.C. Code Section 113 (misdemeanor)
ELEMENTS OF THE CHARGE: (1) person may not parade, stand, or move in
processions or assemblages; (2) in the U.S. Capitol grounds; (3) or to display therein any
flag, banner, or device designed or adapted to bring into public notice any party,
organization, or movement.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: U.S. Capitol police officers bring case in which protesters violate
their permits.

CHARGE: Parades or assemblages; display of flags; Supreme Court Building and
grounds, 40 U.S.C. § 13k (misdemeanor)
ELEMENTS OF THE CHARGE: (1) It is unlawful to parade, stand, or move in
processions or assemblages in the Supreme Court Building or grounds; or (2) to display
therein any flag, banner, or device designed or adapted to bring into public notice any
party, organization, or movement.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Supreme Court law enforcement officers bring case in which
protesters violate their permits.

CHARGE: Injuries to property; Supreme Court Building and grounds, 40 U.S.C.
§ 13i (misdemeanor, or felony, if amount of property damage exceeds $100)
ELEMENTS OF THE CHARGE: (1) it is unlawful to step or climb upon, remove, or

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in any way injure; (2) any statue, seat, wall, fountain, or other erection or architectural
feature, or any tree, shrub, plant, or turf; (3) in the Supreme Court Building or grounds.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Supreme Court law enforcement officers bring case in which
protesters violate their permits.

CHARGE: Firearms or fireworks; speeches; objectionable language; Supreme Court
Building and grounds, 40 U.S.C. § 13j (misdemeanor)
ELEMENTS OF THE CHARGE: (1) it is unlawful to discharge any firearm, firework or
explosive, set fire to any combustible; (2) make any harangue or oration; or (3) utter loud,
threatening, or abusive language in the Supreme Court Building or grounds.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Supreme Court law enforcement officers bring case in which protesters
violate their permits.

CHARGE: Restriction of public travel; Supreme Court grounds, 40 U.S.C. § 13g
(misdemeanor)
ELEMENTS OF THE CHARGE: (1) Public travel in and occupancy of the Supreme Court
grounds is restricted to the sidewalks and other paved surfaces.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Supreme Court law enforcement officers bring case in which protesters
violate their permits.

CHARGE: Sale of articles; signs; solicitation; Supreme Court Building and grounds, 40
U.S.C. § 13h (misdemeanor)
ELEMENTS OF THE CHARGE: (1) it is unlawful to offer or expose any article for sale
in the Supreme Court Building or grounds; or (2) to display any sign, placard, or other form
of advertisement therein; or (3) to solicit fares, alms, subscriptions, or contributions therein.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Supreme Court law enforcement officers bring case in which protesters
violate their permits.

CHARGE: Carrying a Dangerous Weapon, 22 D.C. Code § 3204(a) (felony)
ELEMENTS OF THE CHARGE: (1) defendant carried a deadly or dangerous weapon
openly or concealed on or about his person; (2) defendant carried the weapon on purpose; (3)
defendant intended to use the object as a weapon; (4) the weapon could be concealed; (5)
the weapon was not being carried on land/property possessed/controlled by defendant. (Note:
a dangerous weapon is any object likely to produce death or great bodily injury by the use
made of it.)
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Many objects (such as crowbars or wrenches) may be used as tools or
for other useful purposes, and the law does not prohibit carrying those objects for those
purposes. We must therefore prove that defendant intended to use the object as a deadly or
dangerous weapon. Legitimate considerations include: the design/construction of the object;
defendant’s conduct prior to his arrest; and the time and place defendant was found in
possession of the object. Walking down the street during a demonstration carrying a crowbar

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is not a crime.

CHARGE: Possession of a Prohibited Weapon, 22 D.C. Code § 3214 (a) and (b)
(misdemeanor)
ELEMENTS OF THE CHARGE: (PPW (a): (1) defendant possessed a machine gun,
sawed-off shotgun, black jack, slingshot (note: this is different than a slingshot), sand club,
sandbag, switch-blade knife, metal knuckles, or silencer; and (2) such possession was
knowing and intentional. (PPW (b): (1) defendant possessed an imitation pistol, dagger, dirk,
razor, stiletto, knife with blade longer than 3", or other dangerous weapon; and (3) at the time
of the possession, defendant had the specific intent to use it unlawfully against another.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Some objects may be used as tools or for other useful purposes, and the
law does not prohibit carrying those objects for those purposes. Unless specifically set forth
in PPW(a) as being per se unlawful, we must in all other circumstances prove that defendant
intended to use the object as a deadly or dangerous weapon. Legitimate considerations
include: the design/construction of the object; defendant’s conduct prior to his arrest; and the
time and place defendant was found in possession of the object.

CHARGE: Possession of Implements of a Crime (“PIC”), 22 D.C. Code § 3601
(misdemeanor)
ELEMENTS OF THE CHARGE: (1) defendant possessed any instrument; tool; or
implement for picking tools or pockets; (2) with the intent to use such instrument, tool, or
implement to commit a crime.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Some objects may be used as tools or for other useful purposes, and the
law does not prohibit carrying those objects for those purposes. We must prove that
defendant intended to use the tool to commit a crime. Simply possessing crowbars, tripods,
concrete sleeves, axes, sledge hammers, and any other tool that arguably has a legitimate
purpose is not sufficient to convict someone under this statue.

                               ASSAULTIVE CRIMES

CHARGE: Simple Assault, 22 D.C. Code § 504 (misdemeanor)
ELEMENTS OF THE CHARGE: (1) defendant made an attempt or effort, with force or
violence, to injure another person, or the defendant committed a threatening act that
reasonably would create in another person a fear of immediate injury; (2) that at the time
s/he made the attempt or effort to injure, or committed the threatening act, the defendant had
the apparent ability to injure the person; and (3) the defendant committed the act voluntarily,
and on purpose, and not by accident or mistake.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Someone spits upon, hits, swings at, throws an object at, or injures in
any manner, a law enforcement officer.

CHARGE: Assault on a Police Officer, 22 D.C. Code § 505(a) (felony)
ELEMENTS OF THE CHARGE: (1) complainant was a member of a police force
operating in D.C.; (2) defendant assaulted, opposed, impeded, intimidated, or interfered with

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the complainant; (3) complainant was engaged in the performance of his/her official duties;
(4) defendant knew or had reason to know that complainant was a member of a police force;
and (5) defendant did not act by mistake.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Mere interference with a police officer generally will not be deemed
sufficient to prosecute an APO. More is needed, particularly during a demonstration, where
tempers may flare, and otherwise inappropriate behavior may be tolerated. If serious bodily
injury is suffered by the officer, or the suspect uses a weapon against the officer and injury is
sustained, an APO may be the appropriate charge. If a weapon (other than a gun) is used,
and no injuries are sustained, Simple Assault and PPW(b) are probably the more appropriate
charges.

CHARGE: Assault on a Federal Police Officer, 18 U.S.C. § 111
ELEMENTS OF THE CHARGE: (1) person forcibly assaults, resists, opposes, impedes,
intimidates, or interferes with any person designated in section 1114 of this title while
engaged in or on account of the performance of his/her official duties. (Note: where the acts
constitute only simple assault, defendant is fined or imprisoned not more than one year, or
both; in all other cases, defendant is fined or imprisoned not more than three years, or both;
enhanced penalty if suspect uses a deadly or dangerous weapon, or inflicts bodily injury,
suspect is fined or imprisoned not more than ten years, or both).
JURISDICTION: United States Attorney’s Office, Transnational and Major Crimes Section
APPLICABILITY: A federal law enforcement officer is assaulted during the course of his
law enforcement responsibilities. We will use this federal charge rarely, and under only the
most serious circumstances. Normally, the Superior Court Assault on a Police Officer
charge will be the most applicable charge. See APO, above.

CHARGE: Harming animals used in Law Enforcement, 18 U.S.C. § 1368
ELEMENTS OF THE CHARGE: (1) person maliciously harms any police animal, or
attempts to do so; (2) and the animal is “employed” by a federal agency (in the executive,
legislative, or judicial branch) for the principal purpose of aiding in the detection of criminal
activities, enforcement of laws, or apprehension of criminal offenders.
JURISDICTION: United States Attorney’s Office, Transnational and Major Crimes Section
APPLICABILITY: A federal law enforcement officer’s dog or horse is assaulted during
the course of the officer’s/animal’s law enforcement responsibilities. We will use this
federal charge rarely, and under only the most serious circumstances. Normally, the
Superior Court charge of Cruelty to Animals will be the most applicable charge. See Cruelty
to Animals, below.

CHARGE: Cruelty to Animals, 22 D.C. Code § 801 and 802 (misdemeanor)
ELEMENTS OF THE CHARGE: (1) person beats, tortures, mutilates, or kills any animal,
or causes any animal to be beaten, tortured, killed, etc.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: A local law enforcement officer’s animal is assaulted during the course
of the officer’s/animal’s law enforcement responsibilities.

CHARGE: Assault with a Dangerous Weapon, 22 D.C. Code § 502 (felony)

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ELEMENTS OF THE CHARGE: (1) the three elements of simple assault must be proved;
and (2) the assault must have been committed with a dangerous weapon. A weapon is
anything that is designed to be used, or actually is used to attack or threaten another person.
A weapon is dangerous if it is used in a manner to produce death or great bodily injury.
Need not prove that defendant actually injured or even touched complainant with the
weapon; pointing it in a threatening manner is sufficient, for example.
JURISDICTION: United States Attorney’s Office, Superior Court
APPLICABILITY: Where person acts in a threatening manner while brandishing/using a
weapon that could cause death or great bodily injury. Not sufficient merely to be in
possession of an object that could, in some circumstances, be deemed dangerous.

CHARGE: Forgery and Uttering, 22 D.C. Code § 22-3841 (felony)
ELEMENTS OF THE CHARGE: (1) person makes, draws, or utters a forged written
instrument; (2) with intent to defraud or injure another.
JURISDICTION, United States Attorney’s Office, Superior Court
APPLICABILITY: (1) Someone presents staff or fake law enforcement credentials; this
constitutes an illegal uttering; (2) Someone presents legitimate staff or law enforcement
credentials, but someone other than the legitimate holder presents them; this constitutes
an illegal uttering; (3) someone presents fake tickets to an inaugural ball; this does not
constitute a crime, as we cannot prove that the person knew or should have known that
the tickets were fake, and we cannot show that a crime has been committed.




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                       Appendix J

           Rights Notification Form




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   Option 1 - YOU MAY ELECT TO “POST AND FORFEIT”

   If you choose to “Post and Forfeit,” you will pay a certain amount of money and
   you will be released immediately and the charges against you will be dropped.
   You will never have to appear in court to answer the charges against you. You
   will also never have an opportunity to appear in court to contest the charges
   against you. You are required to prove your identity. A “post and forfeit” is not
   an admission of guilt, and you will have no criminal record on these charges. But
   you will have an arrest record on these charges.

   If you are interested in the post and forfeit option, you will be provided with a list
   showing the amount you must pay depending on the charge for which you were
   arrested.

    Your decision to post and forfeit is final unless you (or your attorney) file a
   “Motion to Set Aside Forfeiture” within 90 days after forfeiture. Such a motion is
   not automatically granted. If it is granted, the charges against you will be
   reinstated and you will have to appear in court to answer them.

   Option 2 - YOU MAY ELECT TO BE RELEASED ON CITATION (“CITE
   OUT”)

   You are eligible for citation release if you are arrested for a misdemeanor offense
   that does not involve domestic violence and there are no outstanding warrants for
   your arrest. You are not required to post any amount of money for citation release
   but you are required to prove your identity.

   If you elect citation release, you will be given a citation (similar to a traffic ticket),
   requiring you to appear in D.C. Superior Court to answer the charges against you.
    Failure to appear in court in response to the citation is a criminal offense. If you
   fail to appear in court on the date specified in the citation, a warrant will be issued
   for your arrest.

   When you appear in court, the government may dismiss the charges against you or
   may proceed to trial. If the government chooses to proceed to trial, you will have
   a right to be represented by an attorney and if you cannot afford an attorney one
   will be provided for you. The government will bear the burden of proving beyond
   a reasonable doubt that you committed the offense with which you have been
   charged. If you are convicted, you will have a criminal record in addition to your
   arrest record. If you are acquitted, you will not have a criminal record but you
   will still have an arrest record unless you are later able to get it sealed or expunged
   by proving to the court that you did not commit any crime.




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   Option 3 - YOU MAY ELECT TO POST BOND (“POST AND TRIAL”)

   If you are not eligible for citation release, you may still be eligible to post bond. If
   so, you may post a cash bond amount assigned to the charge, or a licensed
   bondsman may agree to post the bond for you in return for a 10% fee. You are
   required to prove your identity. You will be provided with a list showing the
   amount you must post depending on the charge for which you were arrested.

   You will be required to appear in D.C. Superior Court to answer the charges
   against you. Failure to appear in court is a criminal offense. If you fail to appear
   in court on the date specified, a warrant will be issued for your arrest.

   When you appear in court, the government may dismiss the charges against you or
   may proceed to trial. If the government chooses to proceed to trial, you will have
   a right to be represented by an attorney and if you cannot afford an attorney one
   will be provided for you. The government will bear the burden of proving beyond
   a reasonable doubt that you committed the offense with which you have been
   charged. If you are convicted, you will have a criminal record in addition to your
   arrest record. If you are acquitted, you will not have a criminal record but you
   will still have an arrest record unless you are later able to get it sealed or expunged
   by proving to the court that you did not commit any crime.




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                   APPENDIX K


                     Use of Force




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V.   USE OF FORCE

     A.   Definitions

          The following terms shall have the meanings designated:

          1.     Use of Force – any physical contact used to effect, influence or
                 persuade an individual to comply with an order from an officer.

          2.     Deadly Force – any use of force likely to cause death or serious
                 physical injury.

          3.     Non-Deadly Force – any use of force that is other than that which
                 is considered as deadly force.

          4.     Serious Use of Force – lethal and less-than-lethal actions by MPD
                 officers including:

                 a)     All firearm discharges by an MPD officer with the
                        exception of range and training incidents and discharges at
                        animals;

                 b)     All uses of force by an MPD officer resulting in a broken
                        bone or an injury requiring hospitalization;

                 c)     All head strikes with an impact weapon;

                 d)     All uses of force by an MPD officer resulting in a loss of
                        consciousness, or that create a substantial risk of death,
                        serious disfigurement, disability or impairment of the
                        functioning of any body part or organ;

                 e)     All other uses of force by an MPD officer resulting in a
                        death; and

                 f)     All incidents where a person receives a bite from an MPD
                        canine.


          5.     Use of Force Indicating Potential Criminal Conduct by an
                 Officer – includes, but is not limited to, all strikes, blows, kicks or
                 other similar uses of force against a handcuffed subject.

          6.     Less-Than-Lethal Weapons – any object or device deployed with
                 the intent or purpose of eliminating a threat without causing death.

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                  These include, but are not limited to, a 37 mm gas gun containing
                 a cloth bag filled with small lead shot pellets, rubber baton rounds,
                 batons, OC Spray, Armament System Procedures (ASP) tactical
                 batons.

          7.     Use of Force Option – a training model/philosophy that supports
                 the reasonable escalation and de-escalation of member-applied
                 force in proportional response to the actions and level of resistance
                 offered by a subject, but does not require the member to exhaust all
                 possible responses in either escalation or de-escalation. The initial
                 level of response is based upon the situation encountered at the
                 scene and the actions of the subject, and should be the minimum
                 amount of force sufficient to accomplish the mission. Such
                 response may progress from the member’s actual physical
                 presence at the scene to the application of deadly force.

          8.     Objective Reasonableness – Reasonableness of a particular use of
                 force must be judged from the perspective of a reasonable officer
                 on the scene in light of the facts and circumstances confronting
                 them without regard to their underlying intent or motivation.

    B. CDU Use of Force Options

          1.     Constructive Force: Uniformed police presence. The presence
                 may be in platoon formation. There is no physical contact between
                 police and demonstrators. Officers in CDU protective gear may
                 only be deployed where there is a danger of violence. The on-
                 scene commander deploying officers in CDU protective gear shall
                 provide a written report explaining his or her deployment decision
                 and actions to the Chief of Police within 48 hours of the
                 deployment.

          2.     Physical Force: Force involving hands-on touching, but with no
                 deployment of tools or weapons. This may include line and wedge
                 formations (with or without protective riot shield) that move a
                 crowd. Arrests also fall into this category.

          3.     OC Force: The use of force involving Oleoresin Capsicum (OC),
                 a natural inflammatory agent derived from the pepper plant, which
                 is deployed from personal canisters or deployed from large scale
                 canisters (MK-9 and MK-46 canisters). Significantly more
                 stringent requirements must be met to justify dispensing OC Spray
                 from the large canisters (MK-46) than from personal canisters
                 (MK-9). A large canister should, generally, be deployed only
                 upon the approval of an on-scene commander to repel a substantial


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                          effort to breach a police line and/or to prevent significant physical
                          injury of police personnel and/or others.

                 4.       Mechanical Force: Force within this area is broken into two
                          levels of force:
                                  Level I -The use of tools or weapons, to include riot baton,
                                  ASP,1 riot shield
                                  Level II - Less-lethal projectiles (i.e.: sting ball munitions,
                                  37mm rubber projectiles, 40mm launcher).

                 5.       Chemical Force: The use of tools or weapons that disperse
                          chemical irritants, such as Chemical and CS Agents (tear gas). The
                          term “chemical agent” refers to all forms of chemical irritants
                          approved by the department for crowd control purposes.

                 6.       Chemical irritant shall not be used to disperse a First Amendment
                          assembly unless the assembly participants or others are committing
                          acts of public disobedience endangering public safety and
                          security. Large-scale canisters of chemical irritant shall not be
                          used at First Amendment assemblies unless (1) the use is approved
                          by an on-scene commander and (2) reasonable and necessary to
                          protect officers or others from physical harm or to arrest actively
                          resisting subjects. The on-scene commander approving the use of
                          large-scale canisters of chemical irritants shall provide a written
                          report (which will be available to the public) explaining his or her
                          decision and actions to the Chief of Police within 48 hours after
                          the event.
                  7
                  .




                          Deadly Force: Any use of force likely to cause death or serious
                          physical injury, including but not limited to the use of a firearm or
                          a strike to the head with a hard object. Deadly force must be
                          employed in accordance with GO-RAR – 901.07 (Use of Force)

        C.       Use of Force Policy

                 The department’s force continuum and reporting requirements as
                 described in GO-RAR 901.07 (Use of Force) is applicable for crowd
                 control incidents and any use of force incident will be investigated by the
                 FIT.

                 Force as described herein is defined as the employment of physical
                 presence contact or weapons in order to disperse or contain a crowd, effect

1
  ASP expandable riot baton devices are not part of the CDU force continuum (with the exception of other
law enforcement agencies armed with the ASP). ASP devices should only be used as a defensive tool if the
primary riot baton has been taken or lost during a confrontation.

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                 arrests, or protect lives and property. Force shall only be used when other
                 less stringent means have not or would not be effective. In all instances,
                 only the minimum amount of force, necessary to accomplishment the
                 mission, shall be used. Such force shall immediately be discontinued
                 upon a determination by the Incident Commander

                 Members may not employ unauthorized tools or weapons.2 Members
                 are specifically prohibited from discharging their firearms into
                 crowds.

                 In managing a crowd, the policy of this Department is to use the lowest
                 level of force necessary to accomplish the objective. The application of
                 force is confined to the force options as outlined below. The level of
                 force shall be dependant upon the level of opposition encountered.

                 Individual command officials may independently direct the use of force
                 when the squad, platoon, or district under their charge is detached from
                 the rest of the unit and when the isolated element’s safety or that of other
                 persons is jeopardized. However, if conditions permit, the Incident
                 Commander or his/her designee shall be apprised of the situation prior to
                 initiating any use of force at this level of command.

                 The application of force by a unit or element of it shall be immediately
                 discontinued upon a determination by the ranking official on the scene
                 that the condition, which required the use of force, has been alleviated.

                 All authorizations, directions, and applications concerning the use of force
                 shall be recorded on PD 759B (Commander's Mass Demonstration Event
                 Log) (Appendix B) and shall be included in the unit commander's after-
                 action report. Similarly, orders to discontinue the use of force shall also
                 be recorded. This information shall also be communicated to the MPD
                 Joint Operations Command Center (JOCC), and segregated into a distinct
                 category prescribed in accordance with JOCC procedures. Similarly,
                 orders to discontinue the use of force shall be communicated to the JOCC.

                 The Assistant Chief of Police, Special Services Command, shall ensure
                 that all use of force incidents occurring during civil disturbance incidents
                 are compiled, documented, and reviewed in an incident after-action report.
                  Incidents involving use of force during a 1st Amendment demonstration
                 will be forwarded the Force Investigation Team for investigation.

                 Individual members whose use of force is independent of the CDU unit,
                 shall be bound by department policy as is stipulated in GO-RAR 901.07

2
 The following weapons are prohibited: shotguns, slapsticks, blackjacks, nun chukkas, saps, brass
knuckles, weighted gloves, and any unauthorized weapons.

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         (Use of Force), and all specified reporting and notification requirements.
         Nothing in the Use of Force policy prevents members from employing
         force reasonably necessary to protect themselves or others from
         physical or deadly force.

         1.     Civil Disturbance Use of Force Protocols

                a)      Orderly Crowds or marches

                       Police presence is appropriate in this category. Crowd
                       activities should be monitored. The police presence may
                       be in platoon formation. There should be no physical
                       contact between police and demonstrators.

                b)     Peaceful Civil Disobedience

                       Unlawful, non-violent, peaceful actions by protestors:
                       Monitor crowd activities. Depending on the scenario and
                       degree of disruption, mass arrests can be considered. The
                       decision to make mass arrests shall only be commenced in
                       consultation with the Incident Commander or his/her
                       designee and must be based on probable cause that can be
                       applied to all arrests.

                c)     Non-Peaceful Civil Disobedience

                       Non-peaceful Civil Disobedience: Utilize the Use of Force
                       continuum and/or, to the extent reasonably possible,
                       disperse, control or arrest only persons who have engaged
                       in unlawful conduct, and/or conduct a mass arrest,
                       according to stated procedures. Only those persons that the
                       Incident Commander has probable cause to arrest shall be
                       arrested. Platoon commanders shall contact the on-scene
                       official commanding the incident regarding use of force.

    D.   Use of Force Continuum During Mass Demonstrations

         1.     Police Lines

                A police line can be either Constructive or Physical force. A
                police line, which DOES NOT substantially encircle persons
                engaged in a First Amendment assembly, may be established. A
                police line may be established at the direction of a unit commander
                whenever it becomes necessary to isolate an area in which large-
                scale unlawful activity is occurring or has the potential of
                occurring. It is done to prevent damage to a specific target, such


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               as a building, a utility, or a business area, or for other purposes as
               authorized by Article VI, Section 5(a) of the Police Regulations
               (24 DCMR 2100). A police line can consist of either uniformed
               personnel or blockade devices such as barricades, buses, ropes, or
               motor scooters.

               The objective of a police line is to affect the movement of
               individuals or a crowd, to protect a group of individuals, or to
               accomplish the arrests of persons within a group. A police line
               may not substantially encircle a First Amendment assembly except
               (1) where there is probable cause to arrest a significant number or
               percentage of the persons located in the area of the assembly for
               unlawful acts (other than failing to have an approved assembly
               plan/permit) or (2) for the safety of the First Amendment assembly
               participants.

               Persons who reside, are employed, have a business or have
               business of an emergency nature in an area marked off by a police
               line shall not normally be barred from entering the area unless
               their safety would be jeopardized or their entry would interfere
               with police operations, and shall not be barred entry based upon
               their views or expression. Persons not falling into one these
               categories shall be prohibited from crossing a police line into a
               disturbance area until such time order has been restored, and the
               police line has been removed.

               a)     Verbal harassment directed against members on a police
                      line shall not be cause for members to break ranks for the
                      purpose of making an arrest or to engage in a verbal
                      confrontation. However, assaults in the form of thrown
                      missiles capable of inflicting injury (i.e., Molotov
                      cocktails, bricks, etc.), or physical attacks upon members,
                      will not be tolerated, and unit supervisors shall make every
                      effort to identify and have arrested those engaged in such
                      activity.

               b)     When normal vehicular and pedestrian traffic is affected
                      within a large area of the city by the establishment of a
                      police line, the Public Information Unit & CIC/ JOCC shall
                      be notified so that local communications media can
                      disseminate this information.

         2.    CDU Platoon Formations

               a)     Platoon formation – Constructive Force
                      i) To move a group of officers, on foot, from one location


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                           to another.
                       ii) This formation is used to gather officers whenever they
                           are in view of demonstrators.

                 b)     Line formation – Constructive or Physical Force
    l.   To stop, guide or redirect forward movement or form a protective barrier
         for safety and/or security reasons
                        i.      To move a crowd to another location.

                c)     Wedge formation – Physical Force
                       i)    Divides a large crowd into two (2) smaller groups.
                       ii)   This can include Mechanical Force if tools or
                             weapons are used in conjunction with the
                             movement.

                d)     Belt Cordon – Physical Force
                       i) Used to enable an arrest squad to move into a crowd to
                            remove individual(s) for whom there is probable cause
                            to arrest, or to remove individuals from the crowd for
                            their own safety.
                       ii) To split a crowd to enable movement of officers and
                            uninvolved citizens or protectees.
                       iii) This can include Mechanical Force if tools or weapons
                            are used in conjunction with the movement.


         3.     OC Spray – OC Force

                Individual “OC” dispensers shall be used as described in GO-RAR
                -901.04 (Oleoresin Capsicum (OC) Spray Dispensers). They
                shall be employed against crowds only as necessary in a defensive
                capacity, unless no other crowd management weapons are readily
                available for use and the tactical situation warrants the use of the
                individual dispensers against a crowd. Such defensive use against
                crowds shall be only upon approval by the Incident Commander or
                his/her designee.

                a)     Personal Size OC Spray – The use of the personal size OC
                       canister is not considered a crowd control action
                       1. Personal protection “OC”
                           i) Used to subdue a single person who is actively
                               resisting an officer.
                          ii) Subject must be at least three (3) feet from the
                               member and no more than five (5) to ten (10) feet
                               away.
                          iii) Police use of force protocols are in effect. GO-RAR

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                            901.07 (Use of Force), GO-RAR –901.04
                            (Oleoresin Capsicum (OD) Spray Dispensers), and
                            GO-RAR – 901.08 (Use of Force Investigations).

               b)    MK 9 & MK-46 OC Canister – OC Force
                     i) Members are prohibited from using MK- 9 and MK-46
                          OC spray canisters to disperse crowds or others, unless
                          the use is approved by the incident commander because
                          it is reasonable and necessary to protect officers or
                          others from physical harm or to arrest actively resisting
                          subjects, or the crowd or others are endangering public
                          safety or security. Large-scale canisters should,
                          generally, be deployed only upon the approval of an on-
                          scene commander to repel a substantial effort to breach
                          a police line and/or to prevent significant physical
                          injury of police personnel and/or others.
                     ii) Are designed for crowd control purposes.
                     iii) Projects a large amount of OC Spray from a fire
                          extinguisher-like device.
                     iv) To be used to disperse a group demonstrators/protesters
                          who creating unsafe or disruptive conditions and/or are
                          actively resisting the police.
                     v) Can be used when lower levels of force will not cause
                          the desired effect or injuries to officer will occur if
                          direct physical confrontation occurs.
                     vi) Crowd must be in close proximity.
                     vii) Individuals in police custody who have been affected
                          by pepper spray shall be given an opportunity for
                          washing and flushing the affected areas with cold water
                          within 20 minutes of being sprayed, absent exigent
                          circumstances. They shall be advised, moreover, not to
                          use creams, ointments, or bandages on affected areas,
                          and that continual rubbing of the skin against affected
                          clothing will cause irritation and reddening of the skin
                          areas. Individuals who complain of continued effects
                          after having flushed the affected areas shall be
                          transported to a hospital for medical treatment.

         4.    Riot Baton – Mechanical Force

               a)    The riot baton shall be used as a defensive weapon. Care
                     should be taken to avoid an aggressive or intimidating
                     appearance through the inappropriate handling of the riot
                     baton. Uses such as striking are made as a means of
                     protection or overcoming resistance when other less
                     forceful methods would not be effective or could result in

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                      injury to the member, and when other means of assistance
                      are not readily available to the member. A strike to the
                      head with a riot baton is considered deadly force, thus the
                      FIT shall be responsible for conducting the force
                      investigation.

               b)     Mechanical Force with Riot batons – When holding the
                      riot baton members shall always:
                      1. Use a port arms position to move a resistive crowd
                          from one area to another.
                      2. Always use a two-hand grip.
                      3. Ensure strikes are NOT made to the head or other vital
                          areas.

         5.    Chemical Munitions (CS) – Chemical Force

               The use of “CS” should be limited and only used when other
               tactical options are either unavailable or when lower level of force
               will not have the desired effect. Only the Chief of Police or his
               designee shall authorize the use of “CS.” The aforementioned
               should be considered options and not the mandatory escalation.

               The commander may employ the level of force necessary to stop a
               threat. De-escalation shall occur when the need for force no longer
               occurs.

                      a. Members are prohibited from using “CS” chemical to
                         disperse crowds or others, unless the incident
                         commander approves the use because it is reasonable
                         and necessary to protect officers or others from
                         physical harm or to arrest actively resisting subjects, or
                         the crowd or others are endangering public safety or
                         security.

                      b. Chemical “CS” agents shall only be used as a defensive
                         weapon for the purpose of dispersing crowds that are
                         threatening or actively engaging in violence or to
                         protect lives and property when the circumstances
                         indicate that the use of chemical “CS” agents would be
                         the most effective manner of accomplishing the
                         objective. Before chemical “CS” agents are employed
                         in an defensive capacity, the official authorizing the
                         deployment of the agent shall ensure that avenues of
                         escape are available to the crowd.

                      c. Individuals in police custody who have been affected

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                           by chemical CS agents shall be given an opportunity for
                           washing and flushing the affected areas with cold water
                           within 20 minutes of being sprayed, or as soon as
                           practicable. They shall be advised, moreover, not to
                           use creams, ointments, or bandages on affected areas,
                           and that continual rubbing of the skin against affected
                           clothing will cause irritation and reddening of the skin
                           areas. Individuals who complain of continued effects
                           after having flushed the affected areas shall be
                           transported to a hospital for medical treatment.

                       d. Information required for documentation – The
                          authorizing official shall include the following
                          information in reports related to the use of chemical
                          agents:

                                (1) The circumstances that occasioned the use;
                                (2) Authorization for or notification of use,
                                    whichever is applicable;
                                (3) The types and, as nearly as possible, the
                                    amount of chemical agents used;
                                (4) The tactical results of use; and reports of ill
                                    effects, besides normal irritation,
                                (5) Hospitalization apparently occasioned by the
                                    effects of chemical CS agents.

         6.     Canines

                The use of canines for crowd control during a protest is strictly
                prohibited. Explosive Ordinance Detection Canines may be used
                to conduct sweeps.

    E.   Civil Disturbance Use of Force Reporting and Investigation Protocol

         1.     This SOP is a guideline for civil disturbance units during major
                demonstrations in the District of Columbia. It should be noted that
                these guidelines apply not only to Metropolitan Police Officers,
                but also to members of outside law enforcement agencies working
                under agreement with this Department.

         2.     The Metropolitan Police Department adheres to the use-of-force
                policies and reporting requirements as delineated in GO-RAR -
                901.07 (Use of Force) and GO-RAR - 901.08 (Use of Force
                Investigations). However, during civil disturbance situations, the
                use-of-force reporting, documentation, and investigative processes
                enumerated in these directives raise practical, logistical, and

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               safety-related concerns. The above-referenced General Orders
               shall guide members.

         3.    Accordingly, the reporting, documentation, and investigative
               procedures set forth in Appendix L shall be employed in mass
               demonstrations situations.




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                    APPENDIX L

            Internal Investigations

                      Use of Force
                           &
                      Misconduct




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           I.      Investigations/Handling of Complaints

                   Sworn members of the Metropolitan Police Department are expected to
                   maintain the highest standards of conduct. Members should conduct
                   themselves properly and professionally, on or off duty. When a member is
                   accused of misconduct, a thorough investigation will be conducted.

                   Responsibilities and procedures for reporting and conducting
                   investigations of serious misconduct (administrative and/or criminal) that
                   may result in disciplinary action are set forth in GO-PER -120.23 (Serious
                   Misconduct Investigations). Responsibilities and procedures for
                   reporting and conducting investigations of administrative or policy
                   misconduct that may result in chain-of-command disciplinary action are
                   set forth in GO-PER -120.26 (Chain-of-Command Misconduct
                   Investigations).

                   The Office of Professional Responsibility (OPR) is responsible for
                   monitoring, assessing, and investigating allegations or instances of use of
                   force and/or misconduct involving members of the Metropolitan Police
                   Department through the Internal Investigations Branch (IIB) or the Force
                   Investigation Team (FIT) of the Internal Affairs Division.

                   During police operations relative to large-scale demonstrations and civil
                   disturbance situations, the Office of Professional Responsibility will
                   operate as follows:9

                   A.       Investigations of Uses of Force

                        1. Force Investigation Team

                            a)      As publicized in civil disturbance situations in the United
                                    States and around the world, the possibility of police use of
                                    force in these situations is likely, to include the possibility
                                    of the use of deadly force. Compounding the situation will
                                    not only be force used by members of the Metropolitan
                                    Police Department, but also by members of other agencies
                                    who have agreed to assist the Department.10

                            b)      The review of force during civil disturbance situations shall
                                    normally be reviewed from a tactical and training
                                    perspective. However, in those situations where a Serious

9
    Members assigned to PMB and/or FIT shall not be used in a CDU capacity.
10
    This does not include federal agencies.



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                      Use of Force occurs, a full investigation as denoted in GO-
                      RAR - 901.07 (Use of Force) shall occur. In these
                      instances, FIT shall be responsible for conducting the force
                      investigation in ALL instances where force is used during
                      First Amendment Assembly.

               c)     The opportunity to conduct an extensive force review
                      during an incident may be hampered by civil disturbance or
                      riot-type conditions. In this scenario, FIT members shall
                      attempt to gather as much information as possible to initiate
                      the investigation. However, it is recognized that due to
                      safety concerns, team members may have to return to
                      conduct more extensive reviews once the area is secure and
                      conditions are safe.

                             i) Conditions might exist in which FIT might not
                                be able to enter a scene for several hours, or is
                                not notified of a Serious Use of Force incident
                                until long after its occurrence. In this case, FIT
                                members may have to rely on non-traditional
                                means such as reviewing video footage, medical
                                reports, etc. Nonetheless, the fullest
                                investigation possible will be conducted in
                                relation to the safety level of the scene at the
                                time of the incident.

                             ii) During a declared Civil Disturbance Condition,
                                 Use of Force Incident Report forms (UFIR)
                                 shall be completed for Serious Use of Force
                                 incidents as per Use of Force Policy.

            2. The following requirements shall apply to FIT during mass
               demonstrations and civil disturbance situations:

               a)     A representative from the FIT shall be assigned to the Joint
                      Operations Command Center (JOCC) during a declared
                      Civil Disturbance Condition. This representative shall be
                      responsible for coordinating force-related information to
                      the Office of Professional Responsibility.

               b)     FIT shall maintain a rapid response team to respond to
                      Serious Use of Force incidents occurring during civil
                      disturbance situations. These members should have full
                      protective gear and be prepared to respond to a scene in
                      which civil disturbance may be occurring.



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                 c)      FIT will assess all force incidents, and in consultation with
                         executive management, determine which incidents warrant
                         a substantive FIT rapid response.
                 d)      At the conclusion of a mass demonstration or civil
                         disturbance, FIT will complete a Use of Force After-Action
                         report.

                 e)      While not engaged in investigating force activity, members
                         of FIT will coordinate and confer with members of the
                         MPD Intelligence Section as it relates to use-of-force
                         information and possible high risk attacks on police
                         officers.

                 g)      Agents assigned to the OPR Electronic Surveillance Unit
                         shall provide technical support for members of FIT, to
                         include video documentation of civil disturbance electronic
                         news reports.

         B.      Investigations of Misconduct/Complaints

              1. Complaints of police misconduct received from citizens during
                 mass demonstrations and periods of civil disorder shall be properly
                 recorded and investigated in accordance with the requirements of
                 either GO-PER -120.23 (Serious Misconduct Investigations) or
                 GO-PER -120.26 (Chain-of- Command Misconduct
                 Investigations). Investigations into such complaints shall be
                 conducted, utilizing prescribed procedures, as soon as the police
                 operation concerning the disturbance has been concluded.

              2. If a complaint is of a nature that would subject the Department to
                 public criticism or liability, or of a magnitude that, if substantiated,
                 could subject the member to disciplinary action, the Incident
                 Commander and the CIC/JOCC shall be notified immediately. The
                 Incident Commander shall determine what course of action should
                 be taken.

         2.      Regardless of whether a complaint has been filed or is likely to be
                 filed, officials who observe or have reported to them instances of
                 misconduct by members against citizens shall take immediate steps
                 to determine the facts, and shall promptly take appropriate
                 corrective action, if necessary. Members who observe other
                 members engaging in misconduct against citizens shall report such
                 misconduct to an official as soon as practicable.




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                   APPENDIX M

The First Amendment Assemblies Act
              of 2004




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     First Amendment Rights and Police Standards

       First Amendment Assemblies

         § 5-331.01. Short title

This subchapter may be cited as the "First Amendment Assemblies Act of 2004".

         § 5-331.02. Definitions

For the purposes of this subchapter, the term:

 (1) " First Amendment assembly" means a demonstration, rally, parade, march, picket line,
 or other similar gathering conducted for the purpose of persons expressing their political,
 social, or religious views.

 (2) "MPD" means the Metropolitan Police Department.

         § 5-331.03. Policy on First Amendment assemblies

It is the declared public policy of the District of Columbia that persons and groups have a
right to organize and participate in peaceful First Amendment assemblies on the streets,
sidewalks, and other public ways, and in the parks of the District of Columbia, and to engage
in First Amendment assembly near the object of their protest so they may be seen and heard,
subject to reasonable restrictions designed to protect public safety, persons, and property,
and to accommodate the interest of persons not participating in the assemblies to use the
streets, sidewalks, and other public ways to travel to their intended destinations, and use the
parks for recreational purposes.

         § 5-331.04. Reasonable time, place, and manner restrictions on First
         Amendment assemblies

 (a) The MPD shall recognize and implement the District policy on First Amendment
assemblies established in § 5-331.03 when enforcing any restrictions on First Amendment
assemblies held on District streets, sidewalks, or other public ways, or in District parks.

(b) The MPD may enforce reasonable time, place, and manner restrictions on First
Amendment assemblies by:

 (1) Establishing reasonable restrictions on a proposed assembly prior to its planned
 occurrence though the approval of a plan, where the organizers of the assembly give
 notice;

 (2) Enforcing reasonable restrictions during the occurrence of an assembly for which a
 plan has been approved, which are in addition to the restrictions set forth in the approved
 plan, where the additional restrictions are:

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   (A) Ancillary to the restrictions set forth in the approved plan and are designed to
   implement the substance and intent in the approval of the plan;

   (B) Enforced in response to the occurrence of actions or events unrelated to the assembly
   that were not anticipated at the time of the approval of the plan and that were not caused
   by the plan-holder, counter-demonstrators, or the police; or

   (C) Enforced to address a determination by the MPD during the pendency of the
   assembly that there exists an imminent likelihood of violence endangering persons or
   threatening to cause significant property damage; or

 (3) Enforcing reasonable restrictions on a First Amendment assembly during its occurrence
 where a plan was not approved for the assembly.

(c) No time, place, or manner restriction regarding a First Amendment assembly shall be
based on the content of the beliefs expressed or anticipated to be expressed during the
assembly, or on factors such as the attire or appearance of persons participating or expected
to participate in an assembly, nor may such restrictions favor non-First Amendment activities
over First Amendment activities.

         § 5-331.05. Notice and plan approval process for First Amendment assemblies
         -- generally.

 (a) It shall not be an offense to assemble or parade on a District street, sidewalk, or other
public way, or in a District park, without having provided notice or obtained an approved
assembly plan.

(b) The purpose of the notice and plan approval process is to avoid situations where more
than one group seeks to use the same space at the same time and to provide the MPD and
other District agencies the ability to provide appropriate police protection, traffic control,
and other support for participants and other individuals.

(c) Except as provided in subsection (d) of this section, a person or group who wishes to
conduct a First Amendment assembly on a District street, sidewalk, or other public way, or
in a District park, shall give notice and apply for approval of an assembly plan before
conducting the assembly.

(d) A person or group who wishes to conduct a First Amendment assembly on a District
street, sidewalk, or other public way, or in a District park, is not required to give notice or
apply for approval of an assembly plan before conducting the assembly where:

 (1) The assembly will take place on public sidewalks and crosswalks and will not prevent
 other pedestrians from using the sidewalks and crosswalks;
 (2) The person or group reasonably anticipates that fewer than 50 persons will participate
 in the assembly, and the assembly will not occur on a District street; or



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  (3) The assembly is for the purpose of an immediate and spontaneous expression of views
  in response to a public event.

(e) The Mayor shall not enforce any user fees on persons or groups that organize or conduct
First Amendment assemblies.

(f) The Mayor shall not require, separate from or in addition to the requirements for giving
notice of or applying for approval of an assembly plan for a First Amendment assembly, that
persons give notice to, or obtain a permit or plan from, the Chief of Police, or other District
officials or agencies, as a prerequisite for making or delivering an address, speech, or sermon
regarding any political, social, or religious subject in any District street, sidewalk, other
public way, or park.

(g) The Mayor shall not require, separate from or in addition to the requirements for giving
notice of or applying for approval of an assembly plan for a First Amendment assembly, that
persons give notice to, or obtain a permit or plan from the Chief of Police, the Department of
Consumer and Regulatory Affairs, or any other District official or agency as a prerequisite
for using a stand or structure in connection with such an assembly; provided, that a First
Amendment assembly plan may contain limits on the nature, size, or number of stands or
structures to be used as required to maintain public safety. Individuals conducting a First
Amendment assembly under subsection (d) of this section may use a stand or structure so
long as it does not prevent others from using the sidewalk.

(h) The Mayor shall not require, separate from or in addition to the requirements for giving
notice of or applying for approval of an assembly plan for a First Amendment assembly, that
persons give notice to, or obtain a permit or plan from, the Chief of Police, the Director of
the Department of Consumer and Regulatory Affairs, or any other District official or agency
as a prerequisite for selling demonstration-related merchandise within an area covered by an
approved plan or within an assembly covered by subsection (d) of this section; provided,
that nothing in this subsection shall be construed to authorize any person to sell merchandise
in a plan-approved area contrary to the wishes of the plan-holder.

          § 5-331.06. Notice and plan approval process for First Amendment assemblies
          -- processing applications; appeals; rules

 (a)(1) Subject to the appeal process set forth in subsection (d) of this section, the authority to
receive and review a notice of and an application for approval of a plan for a First
Amendment assembly on District streets, sidewalks, and other public ways, and in District
parks, and to grant, deny, or revoke an assembly plan, is vested exclusively with the Chief of
Police or his or her designee.

  (2) Persons or groups providing notice to and applying for approval of a plan from the
  District government to conduct a First Amendment assembly on a District street, sidewalk,
  or other public way, or in a District park, shall not be required to obtain approval for the
  assembly from any other official, agency, or entity in the District government, including
  the District of Columbia Emergency Management Agency, the Mayor's Special Events

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 Task Group, or the Department of Parks and Recreation.

(b)(1) The Chief of Police shall take final action on a notice of and an application for
approval of a plan for a First Amendment assembly within a reasonably prompt period of
time following receipt of the completed application, considering such factors as the
anticipated size of the assembly, the proposed date and location, and the number of days
between the application date and the proposed assembly date, and shall establish specific
timetables for processing an application by rules issued pursuant to subsection (e) of this
section.

 (2) Except as provided in paragraph (3) of this subsection, where a complete application
 for approval of a First Amendment assembly plan is filed 60 days or more prior to the
 proposed assembly date, the application shall receive final action no later than 30 days
 prior to the proposed assembly.

 (3) Following the approval of an assembly plan in response to an application pursuant to
 paragraph (2) of this subsection, the Chief of Police may, after consultations with the
 person or group giving notice of the assembly, amend the plan to make reasonable
 modifications to the assembly location or route up until 10 days prior to the assembly date
 based on considerations of public safety.

(c) The Chief of Police shall inform the person or group giving notice of an assembly, in
writing, of the reasons for any decision to:

 (1) Deny an application for approval of a First Amendment assembly plan;

 (2) Revoke an assembly plan prior to the date of the planned assembly; or

 (3) Approve an assembly plan subject to time, place, or manner restrictions that the
 applicant has advised the Chief of Police are objectionable to the applicant.

(d)(1) Any applicant whose proposed assembly plan has been denied, revoked prior to the
date of the planned assembly, or granted subject to time, place, or manner restrictions
deemed objectionable by the applicant, may appeal such decision to the Mayor or the
Mayor's designee, who shall concur with, modify, or overrule the decision of the Chief of
Police.

 (2) The Mayor shall make a decision on appeal expeditiously and prior to the date and time
 the assembly is planned to commence, and shall explain in writing the reasons for the
 decision.

(e)(1) Within 90 days of April 13, 2005, the Mayor, pursuant to subchapter I of Chapter 5 of
Title 2, and in accordance with this subchapter, shall issue rules governing the approval of
plans to persons or groups seeking to conduct a First Amendment assembly on District
streets, sidewalks, or other public ways, or in District parks.



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 (2) Existing procedures for the issuance of permits to persons or groups seeking to conduct
 a First Amendment assembly on District streets, sidewalks, or other public ways, or in
 District parks, that are not inconsistent with this subchapter shall remain in effect pending
 the issuance of the rules promulgated under paragraph (1) of this subsection.

         § 5-331.07. Police handling and response to First Amendment assemblies

 (a) The MPD's handling of, and response to, all First Amendment assemblies shall be
designed and implemented to carry out the District policy on First Amendment assemblies
established in § 5-331.03.

(b)(1) Where participants in a First Amendment assembly fail to comply with reasonable
time, place, and manner restrictions, the MPD shall, to the extent reasonably possible, first
seek to enforce the restrictions through voluntary compliance and then seek, as appropriate,
to enforce the restrictions by issuing citations to, or by arresting, the specific non-compliant
persons, where probable cause to issue a citation or to arrest is present.

 (2) Nothing in this subsection is intended to restrict the authority of the MPD to arrest
 persons who engage in unlawful disorderly conduct, or violence directed at persons or
 property.

(c) Where participants in a First Amendment assembly, or other persons at the location of the
assembly, engage in unlawful disorderly conduct, violence toward persons or property, or
unlawfully threaten violence, the MPD shall, to the extent reasonably possible, respond by
dispersing, controlling, or arresting the persons engaging in such conduct, and not by issuing
a general order to disperse, thus allowing the First Amendment assembly to continue.

(d) The MPD shall not issue a general order to disperse to participants in a First Amendment
assembly except where:

 (1) A significant number or percentage of the assembly participants fail to adhere to the
 imposed time, place, and manner restrictions, and either the compliance measures set forth
 in subsection (b) of this section have failed to result in substantial compliance or there is
 no reasonable likelihood that the measures set forth in subsection (b) of this section will
 result in substantial compliance;

 (2) A significant number or percentage of the assembly participants are engaging in, or are
 about to engage in, unlawful disorderly conduct or violence toward persons or property; or

 (3) A public safety emergency has been declared by the Mayor that is not based solely on
 the fact that the First Amendment assembly is occurring, and the Chief of Police
 determines that the public safety concerns that prompted the declaration require that the
 First Amendment assembly be dispersed.

(e)(1) If and when the MPD determines that a First Amendment assembly, or part thereof,
should be dispersed, the MPD shall issue at least one clearly audible and understandable

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order to disperse using an amplification system or device, and shall provide the participants a
reasonable and adequate time to disperse and a clear and safe route for dispersal.
  (2) Except where there is imminent danger of personal injury or significant damage to
  property, the MPD shall issue multiple dispersal orders and, if appropriate, shall issue the
  orders from multiple locations. The orders shall inform persons of the route or routes by
  which they may disperse and shall state that refusal to disperse will subject them to arrest.

 (3) Whenever possible, MPD shall make an audio or video recording of orders to disperse.

(f)(1) Where a First Amendment assembly is held on a District street, sidewalk, or other
public way, or in a District park, and an assembly plan has not been approved, the MPD
shall, consistent with the interests of public safety, seek to respond to and handle the
assembly in substantially the same manner as it responds to and handles assemblies with
approved plans.

 (2) An order to disperse or arrest assembly participants shall not be based solely on the fact
 that a plan has not been approved for the assembly.

 (3) When responding to and handling a First Amendment assembly for which a plan has
 not been approved, the MPD may take into account any actual diminution, caused by the
 lack of advance notice, in its ability, or the ability of other governmental agencies,
 appropriately to organize and allocate their personnel and resources so as to protect the
 rights of both persons exercising free speech and other persons wishing to use the streets,
 sidewalks, other public ways, and parks.

         § 5-331.08. Use of police lines

No emergency area or zone will be established by using a police line to encircle, or
substantially encircle, a demonstration, rally, parade, march, picket line, or other similar
assembly (or subpart thereof) conducted for the purpose of persons expressing their political,
social, or religious views except where there is probable cause to believe that a significant
number or percentage of the persons located in the area or zone have committed unlawful
acts (other than failure to have an approved assembly plan) and the police have the ability to
identify those individuals and have decided to arrest them; provided, that this section does
not prohibit the use of a police line to encircle an assembly for the safety of the
demonstrators.

         § 5-331.09. Identification of MPD personnel policing First Amendment
         assemblies

The MPD shall implement a method for enhancing the visibility to the public of the name or
badge number of officers policing a First Amendment assembly by modifying the manner in
which those officers' names or badge numbers are affixed to the officers' uniforms or
helmets. The MPD shall ensure that all uniformed officers assigned to police First
Amendment assemblies are equipped with the enhanced identification and may be identified
even if wearing riot gear.

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         § 5-331.10. Documentation of arrests in connection with a First Amendment
         assembly

 (a) The MPD shall cause every arrest in connection with a First Amendment assembly to be
documented, in writing or electronically, by the officer at the scene who makes the arrest.
(b) Except as provided in subsection (c) of this section, the arrest documentation shall be
completed at a time reasonably contemporaneous with the arrest, and shall include:

 (1) The name of the person arrested;

 (2) The date and time of the arrest;

 (3) Each offense charged;

 (4) The location of the arrest, and of each offense;

 (5) A brief statement of the facts and evidence establishing the basis to arrest the person
 for each offense;

 (6) An identification of the arresting officer (name and badge number); and

 (7) Any other information the MPD may determine is necessary.

(c)(1) The Chief of Police may implement a procedure for documenting arrests in connection
with a First Amendment assembly different from that set forth in subsection (b) of this
section where the Chief determines that an emergency exists with regard to a specific First
Amendment assembly, and that implementation of the alternative procedure is necessary to
assist police in protecting persons, property, or preventing unlawful conduct; provided, that
any such procedure shall adequately document the basis that existed for each individual
arrest.

 (2) The determination of the Chief of Police made pursuant to paragraph (1) of this
 subsection shall be made in writing and shall include an explanation of the circumstances
 justifying the determination.

 (3) The determination of the Chief of Police made pursuant to paragraph (1) of this
 subsection shall be valid for a period of 24 hours, and may be renewed by the Chief, or in
 the Chief's absence, the Chief's designee.

         § 5-331.11. Use of handcuffs, plastic cuffs, or other physical restraints on
         persons arrested in connection with a First Amendment assembly.

(a) The MPD shall adhere to the standard set forth in subsection (b) of this section in using
handcuffs, plastic cuffs, or other physical restraints on any person arrested in connection
with a First Amendment assembly who is being held in custody in the following

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circumstances:

 (1) The arrestee is being held in a police processing center:

   (A) To determine whether the arrestee should be released or the method for release;

   (B) To determine whether the arrestee should be presented to court; or

   (C) Pending presentation to court;

 (2) The arrestee is being held in an unsecured processing center, and is not being held in a
 cell; or

 (3) The arrestee is charged solely with one or more misdemeanor offenses, none of which
 have, as one of their elements, the commission of a violent act toward another person or a
 threat to commit such an act, or the destruction of property, or a threat to destroy property.

(b) With regard to any person who is being held in custody by the MPD in the circumstances
identified in subsection (a) of this section, the MPD shall use handcuffs, plastic cuffs, or
other physical restraints only to the extent reasonably necessary, and in a manner reasonably
necessary, for the safety of officers and arrestees; provided, that no such person shall be
restrained by connecting his or her wrist to his or her ankle, and no such person shall be
restrained in any other manner that forces the person to remain in a physically painful
position.

(c) Nothing in this section is intended to restrict the otherwise lawful authority of the MPD
to use handcuffs, plastic cuffs, or other physical restraints on persons arrested in connection
with a First Amendment assembly at the time of or immediately following arrest, while
arrestees are being transported to a processing center, or while arrestees are being
transported to or from court.

         § 5-331.12. Prompt release of persons arrested in connection with a First
         Amendment assembly.

(a)(1) The MPD shall promptly process any person arrested in connection with a First
Amendment assembly to determine whether the person is eligible for immediate release
pursuant to a lawful release option, and shall promptly release any person so eligible who
opts for release.

 (2) The MPD shall promptly release any person arrested in connection with a First
 Amendment assembly who, it is subsequently determined, should not be charged with any
 offense, or as to whom arrest documentation has not been prepared and preserved.

(b)(1) The MPD shall require that an officer holding a supervisory rank document and
explain any instance in which a person arrested in connection with a First Amendment
assembly who opts for release pursuant to any lawful release option or who is not charged

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with any offense is not released within 4 hours from the time of arrest.

 (2) The MPD shall provide to any person not released within a reasonable time of arrest
 food appropriate to the person's health.

(c) The Chief of Police shall issue an annual public report that:


 (1) Identifies the number of persons in the preceding year who were arrested in connection
 with a First Amendment assembly and opted for release pursuant to any lawful release
 option or were not charged with any offense and were not released from custody within 4
 hours after the time of arrest;

 (2) Discusses the reasons for the delay in processing such persons for release; and

 (3) Describes any steps taken or to be taken to ensure that all such persons are released
 within 4 hours from the time of arrest.

(d) The MPD shall ensure that it possesses an automated information processing system that
enables it to promptly process for release or presentation to the court all persons arrested in
connection with a First Amendment assembly, and shall ensure that such system is fully
operational (with respect to its hardware, software, and staffing) prior to a First Amendment
assembly that has a potential for a substantial number of arrests.

         § 5-331.13. Notice to persons arrested in connection with a First Amendment
         assembly of their release options.

 (a) The MPD shall fully and accurately advise persons arrested in connection with a First
Amendment assembly of all potential release options when processing them for release from
custody or for presentation to court.

(b)(1) The MPD shall provide a written notice identifying all release options to each person
arrested in connection with a First Amendment assembly who is charged solely with one or
more misdemeanor offenses. The notice shall clearly indicate that the options are alternative
methods for obtaining a prompt release, and that the availability of each option is dependent
on a determination that the arrestee is eligible to participate in that release option. The
notice shall also identify the misdemeanor charges lodged against the arrestee.

 (2) The notice required by paragraph (1) of this subsection shall be offered in the Spanish
 language to those persons who require or desire notice in this manner, and shall be offered
 in other languages as is reasonable to ensure meaningful access to the notice for persons
 who are limited English proficient.

         § 5-331.14. Police-media relations

(a) Within 90 days of April 13, 2005, the Chief of Police, pursuant to subchapter 1 of

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Chapter 5 of Title 2, shall issue rules governing police passes for media personnel.

(b) Within 90 days of April 13, 2005, the Chief of Police shall develop and implement a
written policy governing interactions between the MPD and media representatives who are
in or near an area where a First Amendment assembly is ongoing and who are reporting on
the First Amendment assembly. The policy shall be consistent with the requirements of
subsection (c) of this section.
(c)(1) The MPD shall allow media representatives reasonable access to all areas where a
First Amendment assembly is occurring. At a minimum, the MPD shall allow media
representatives no less access than that enjoyed by members of the general public and,
consistent with public safety considerations, shall allow media representatives access to
promote public knowledge of the assembly.

 (2) The MPD personnel located in or near an area where a First Amendment assembly is
 ongoing shall recognize and honor media credentials issued by or officially recognized by
 the MPD.

 (3) The MPD shall make reasonable accommodations to allow media representatives
 effectively to use photographic, video, or other equipment relating to their reporting of a
 First Amendment assembly.

         § 5-331.15. Training for handling of, and response to, First Amendment
         assemblies

The Chief of Police shall ensure that all relevant MPD personnel, including command staff,
supervisory personnel, and line officers, are provided regular and periodic training on the
handling of, and response to, First Amendment assemblies. The training shall be tailored to
the duties and responsibilities assigned to different MPD positions and ranks during a First
Amendment assembly. The training shall include instruction on the provisions of this
subchapter, and the regulations issued hereunder.

         § 5-331.16. Use of riot gear and riot tactics at First Amendment assemblies

 (a) Officers in riot gear shall be deployed consistent with the District policy on First
Amendment assemblies and only where there is a danger of violence. Following any
deployment of officers in riot gear, the commander at the scene shall make a written report to
the Chief of Police within 48 hours and that report shall be available to the public on request.

(b)(1) Large scale canisters of chemical irritant shall not be used at First Amendment
assemblies absent the approval of a commanding officer at the scene, and the chemical
irritant is reasonable and necessary to protect officers or others from physical harm or to
arrest actively resisting subjects.

 (2) Chemical irritant shall not be used by officers to disperse a First Amendment assembly
 unless the assembly participants or others are committing acts of public disobedience
 endangering public safety and security.

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 (3) A commanding officer who makes the determination specified in paragraph (1) of this
 subsection shall file with the Chief of Police a written report explaining his or her action
 within 48 hours after the event.




         § 5-331.17. Construction

The provisions of this subchapter are intended to protect persons who are exercising First
Amendment rights in the District of Columbia, and the standards for police conduct set forth
in this subchapter may be relied upon by such persons in any action alleging violations of
statutory or common law rights.




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                    APPENDIX N

                Records Retention




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It is the policy of the MPD that records associated with mass demonstrations and protests
are retained for a period of no less than three (3) years. In the furtherance of this policy,
the following procedures shall be followed:

In the event of a mass demonstration or protest, either planned or spontaneous, the
following members are required to take action to identify and preserve all computer files,
communication recordings/radio runs and documents reasonably related to the event.
MPD must ensure original documents are preserved.

1.       Commanding Officer, Special Operations Division (SOD), upon notification of a
         mass demonstration or protest shall:

                a.     Secure a Central Complaint Number (CCN) designated solely for
                       the event. This CCN shall be used when referring to any records
                       retained which are associated with the event.

                       NOTE: Different CCN’s may be obtained for individual incidents
                       which occur during the event, e.g., damage to property, PD 42,
                       arrest(s).

                b.     Designate a secure location within SOD, in which all records
                       (originals and copies) shall be stored.

                c.     Ensure the records are properly marked and indexed with the CCN
                       for the event.

                d.     Serve as the preserver of these records (originals and copies) for a
                       period of no less than three (3) years.

                e.     Seek and receive written permission from the Office of the
                       Attorney General (OAG) and the MPD’s Office of General
                       Counsel (OGC) prior to moving, surrendering or destroying any
                       records associated with mass demonstrations or protests.

2.       Director, Command Information Center (CIC), upon notification of a mass
         demonstration or protest shall:

                a.     Contact SOD and ascertain the assigned CCN.

                b.     Ensure all records (originals and copies) relative to the event are
                       retained, indexed, marked with the corresponding CCN and
                       forwarded to the Commanding Officer, SOD, no later than ten (10)
                       days following the event.




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                c.     Ensure, upon the activation the Joint Operation Commander Center
                       (JOCC), a running resume shall be initiated and continue until the
                       JOCC is deactivated. This resume shall be logged, marked with
                       the corresponding CCN and forwarded with all other records to the
                       Commanding Officer, SOD, no later than ten (10) days following
                       the event.

                d.     MPD must ensure that originals are preserved as well.

3.       MPD Liaison Official assigned to the Office of Unified Communication (OUC),
         upon notification of a mass demonstration or protest shall:

                a.     Contact SOD and confirm the designated CCN assigned to the
                       event.

                b.     Ensure OUC assigns a radio channel to be dedicated to the event.

                c.     Ensure copies of all radio transmissions related to the events are
                       retained, indexed, marked with the corresponding event CCN and
                       forwarded to the Commanding Officer, SOD, no later than ten (10)
                       days following the event.

                d.     MPD must ensure that originals are preserved as well.

4.       Photographic or Video Recording or Surveillance

                a.     Commanding Officers of units having members assigned to (or
                       those with the capability to) utilize government issued equipment
                       to engage in photographic or video recording or surveillance
                       (audio and/or video, still photography) any mass demonstration or
                       protest shall establish a log book to index any recordings of any
                       mass demonstration or protest. The log book shall contain:

                       1)     Members name and assignment;

                       2)     Equipment and recording media used;

                       3)     Dates, Times and location(s) of the recordings;

                       4)     Notation of the indexing and logging of return of all media
                              used.

                b.     Members who are assigned to (or those with the capability to)
                       utilize government issued equipment to engage in photographic or
                       video recording or surveillance shall, upon completion of the
                       assignment,

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               1)     Label all recordings with the event number along with the
                      time(s) and location(s) the recording(s) were taken and the
                      operators badge number and CAD number.

               2)     Document their use of photographic or video recording or
                      surveillance in the unit’s log book.

                      NOTE: If no recordings are taken, note such in the log
                      book.

               3)     Ensure originals and copies of all recordings related to the
                      events are retained, properly marked and forwarded to the
                      Commanding Officer, SOD, no later than ten (10) days
                      following the event.

               4)     Ensure copies of the log book are properly marked and
                      forwarded to the Commanding Officer, SOD, no later than
                      ten (10) days following the event. (The original log book
                      shall be retained at the organizational element.)

         c.    Members who may utilize their personal equipment to take
               photographs or record video (e.g., personal cell phone) shall
               preserve any photos or recordings in accordance with GO-SPT-
               601.02 (Preservation of Potentially Discoverable Material).




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